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EXHIBIT A

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GRAEME MEW

B.A. (HONS), LL.B, FCIARB, BARRISTER AND SOLICITOR
OPINION ON CANADIAN LIMITATION ISSUES
1. INTRODUCTION
. (a) Scope of Report

I have been asked by counsel representing W. R. Grace and Co. (“Grace”) to
assist the court by providing my opinion on the operation of the law of limitations in
certain Canadian provinces' with respect to asbestos property damage claims within those
provinces. Specifically, I have been asked to provide an opinion on whether, having
regard to the operation of the law of limitations in Canada, the Canadian claims that have

been filed against Grace (the “Claims”) are time-barred.

! am informed that on April 2, 2001, Grace filed for bankruptcy. For the purposes
of this opinion, I have taken that date as the date from which the limitation consequences
of Canadian law with respect to the Claims should be viewed. In doing so, I do not
preclude the possibility of a court holding that the appropriate date, for limitations

purposes, would in fact be a later date than that.

In addition to the opinions set forth in this report, I may also rely on or comment
on the publications, opinions, and materials produced in discovery or contained in reports
of other experts designated by the claimants or Grace in this action, and I reserve the

right to amend or supplement this report as necessary.

| T understand that the Claims, which are the subject of the “Debtors” Fifteenth Omnibus Objection (Substantive} To Asbestos-Related
Property Claims” {the “Objection") are based on allegations of asbestos-related property damuge to properties located in various
Canadian provinces. 7.do not propose to offer an opinion on Claims originating-out of installations of Grace products in the
Province of Québec. Québec civil Jaw is based on a Civif Code which is derived from the French Napoleonic Code. All of the other
provinces ard territories in Canada use a common law system. As my academic and vocational background isin common law
systems, § do not consider myself to'be qualified lo-provide an expert opinion on Québec taw. Accordingly, this opinion deals with
the limitations law implications on the Claims originating out of installations of Grace products in.the common law provinces of
Alberta, British Columbia, Manitoba, Newfoundland, Nova Scotia, Ontario and-Saskatchewan.

EXHIBIT A

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({b) Qualifications

Currently, I am the Office Managing Partner at the law firm of Nicholl Paskell-
Mede, which has an office at 390 Bay Street, Suite 612, Toronto, Ontario, M4H 2Y2,
Canada. I have practised law since 1984, initially in England and, subsequently, in
Canada. For the past 19 years, at Nicholl Paskell-Mede and at other law firms in
Toronto, I have served as an advocate, mediator and arbitrator in civil, administrative and
criminal litigation with a particular emphasis in insurance law (coverage, defence,
primary/excess and reinsurance issues) products liability, personal injury, professional
liability, directors’ and officers’ liability, transportation, business disputes, other contract
and tort litigation, sports and entertainment disputes, administrative law and conflict of
laws issues. For several years, including 2006, I have been ranked as a Leading
Practitioner in Litigatton-Commercial Insurance by The Canadian Legal Lexpert
Directory. (Attached hereto as Exhibit “A” is a copy of my curriculum vitae

summarizing my qualifications and experience).

I received a Bachelor of Arts (Honours) in Law in 1980 from Kingston University
in London, England and, upon completion of professional legal education at the Inns of
Court School of Law in 1982, was called to the Bar of England and Wales (as a barrister)
by the Honourable Society of the Middle Temple. I received a Bachelor of Laws in 1986
from the University of Windsor in Ontario, Canada and, in 1987, | was admitted as a
Barrister and Solicitor in Ontario, Canada. In 1994, I ‘was certified ‘as an arbitrator (as an
Associate and, subsequently, a Fellow of the Chartered Institute of Arbitrators) and, in
1999, I was certified as an accredited mediator by the Centre for Effective Dispute
Resolution in England. I have also completed certified basic and advanced alternative
dispute resolution (“ADR”) training with the University of Windsor.

I have written and spoken extensively on the subject of the law of limitations? in

various Canadian provinces and territories, (See Exhibit “B” to this Affidavit for a list of

> The “law of limitations,” as referred to in this report, is understood by me to be analogous to the law pertaining to statutes of

limitations and statutes of repose in the United-Stales and the various states thereof.

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ali publications). In particular, I am the author of The Law of Limitations (2nd ed. 2004),

published by the Butterworths division of LexisNexis, which I believe to be the most
widely-used Canadian textbook on the law of limitations and which is the only

limitations text of national scope currently in print in Canada.

As a specialist on the law of limitations, I have been regularly cited by Canadian
courts, including the Supreme Court of Canada, on the taw of |imitations for-most, if not
all, common law Canadian provinces and territories (See Exhibit “C” to this report for a

list of court cases in which my book, The Law of Limitations, has been cited), I am also

regularly retained by the Lawyers Professional Indemnity Company (the professional
liability insurer to lawyers in Ontario and Newfoundland) as one of that company’s
“preferred counsel,” to advise on limitation issues, to attempt “repairs” where lawyers
have encountered limitation issues, and to represent lawyers in malpractice litigation
involving limitation issues, | also regularly encounter limitations issues in my practice as

a mediator and arbitrator.

My compensation for the preparation of this report, as wel! as all preliminary and
preparatory work, and any attendances that may be required by me to give evidence, has
been agreed at Canadian $495 per hour. I have derived assistance with research and
preparation of this report from my associate Christine Goldsack, whose time has been
charged at Canadian $180 per hour as well as students and library researchers employed
by my firm, whose time has been billed at rates ranging between Canadian $80 per hour
and $215 per hour.

T have provided opinion evidence in court proceedings on a number of previous

occasions including the following:

* Opinion on English negligence law (Ontario Superior Court)
* Opinion on English practice and procedure (Ontario Superior Court)

« Opinion on English insurance policy law (Ontario Superior Court)

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e Opinion on the Canadian law of limitations in connection with other US

Chapter 11 proceedings involving asbestos related property damage claims’
(c} Factual Context

I have been informed of the following facts and assume them to be true. Grace,
through its subsidiaries, is one of the world’s leading specialty chemicals and materials
companies. In the past, Grace produced and marketed products containing commercially-
added asbestos primarily to the commercial construction industry. In Canada, from 1959
to 1975, Grace marketed Mono-Kote 3 (“MK-3”) an asbestos-containing, wet spray-
applied plaster, or cementitious fireproofing product, used to provide fire protection for
the enclosed steel structures of large buildings. Grace did not sell MK-3 in Canada after
1975, Other Grace asbestos-containing products included Zonolite Acoustical Plaster,
and other acoustical plaster and texture products, which were used primarily on interior

ceilings and walls. Acoustical plaster was not sold in Canada after approximately 1969.

iL. EXECUTIVE SUMMARY

In my opinion, all of the Claims against Grace are time-barred as a result of the
law of limitations. This results from the application of “ultimate” or “longstop” limitation
provisions in certain provinces, as well as from the application of “normal” (i.c. non-

ultimate) limitation periods in all common law provinces and territories of Canada.

Ultimate limitation periods begin to run at the date of installation of the allegedly
defective product, regardless of whether the claims could have been “discoverable”.
Specifically, in Alberta, all Claims where alleged installations of asbestos products of any
of the Debtors occurred prior to April 2, 1991 are time-barred due to the operation of
Alberta’s 10-year ultimate limitation period. In each of British Columbia, Manitoba, and

Newfoundland and Labrador, all Claims in respect of installations of asbestos products of

‘inve: Federal-Mogul Global Inc., T&N Limited, et af, Debtors. Chapter | Case No. 01-10578.
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any of the Debtors occurring prior to April 2, 1971 are time-barred due to the operation

of the 30-year ultimate limitation periods in each of these provinces,

In all of the provinces under consideration, normal limitation periods would
render any remaining Claims, which are not otherwise eliminated by ultimate limitation
period provisions, time-barred. In considering when the normal limitation period will
start to run, Canadian courts would follow the leading decision on liability for the
installation of asbestos containing products (including the limitation issues that arise) in
Privest Properties Lid. v. Foundation Co. of Canada Lid. * Such courts ‘would also
consider the Supreme Court of Canada’s decision in Canadian Indemnity Co. v. Johns-
Manville Co, Lid’, the widely publicly disseminated information catalogued in the Roger
Morse reports, as well as ‘the existence of legislation throughout Canada that made it a
statutory duty for building owners to know whether asbestos products were contained in
their buildings. The end result would be that, under the applicable Canadian law, the
claimants cannot escape the effect of a limitation defence by relying on the
“discoverability” principle or any other argument that would delay or suspend the

running of time from the date that the impugned product was installed.

Given the aforementioned factors, it is my opinion that all of the remaining
Claims against Grace are time-barred due to the operation of the provincial limitations
statutes.

I. OVERVIEW OF CANADIAN LEGAL SYSTEM
{a} Jurisdictional System

Canada is .a federation of provinces and territories. It is a constitutional

monarchy. Canada’s current head of state is Queen Elizabeth Il. Most of the Queen’s

*[1995} 10 WIW-R. 385 (B.C.S.C.), aff'd, [1997] 5 W.W.R. 265 (B.C.C.A), leave to appeal dismissed, [1997] §.C.C.A. No. 216
(S.C.C.). .

5 (1988), 54 D.LLR. (4) 468 (Que. C.A.); (1990), 72 D.L.R. (4") 478 (S.C.C.). In that case, the Supreme Court of Canada stated that
asbestos issues were clear and known by the general public in Canada in the 1970's onward.

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constitutional responsibilities are carried out by the Governor General of Canada, who is

appointed by the Crown upon the recommendation of the elected government of Canada.

The division of powers between the federal government and the provinces is set
out in a law now known as the Constitution Act, 1867.5 In the Canadian federal system,
sovereignty is divided between two orders of government, with each level of government
restricted to the areas of jurisdiction assigned to it. Part VI of the Constitution Act, 1867
(which is made up of sections 91 to 95) distributes legislative powers between the
Parliament of Canada and the legislatures of the provinces. An independent judiciary,
appointed in the name of the Crown, monitors the distribution of powers and ensures that
neither level of government exceeds the powers that are allocated to it under the

constitution.
(b) Unitary System

The Supreme Court of Canada is the highest court in Canada, It has final
jurisdiction over all matters of Canadian law, including matters falling under both federal
and provincial jurisdiction. It has the right to hear appeals from provincial courts
established and maintained by the provinces as well as from federal courts established

and maintained by the Parliament of Canada,

The Supreme Court of Canada was contemplated by section 101 of the
Constitution Act, 1867, which granted Parliament legislative authority to provide for the
creation of a "General Court of Appeal for Canada." Pursuant to this authority,
Parliament enacted the Supreme Court Act in 1875, creating the Supreme Court of
Canada. At that time, the Supreme Court was not Canada's ultimate legal authority, since
appeals could still be taken from the Supreme Court of Canada to the Privy Council
(which sat in England). However, Privy Council appeals were finally abolished in 1949

s Formerly known as the British North America Act, 1867. There are 10 provinces and 3 territories in Canada. The provinces are:
British Columbia, Alberta, Saskatchewan, Manitoba, Ontario, Quebec, New Brunswick, Nove Scotia, Prince Edward Island,
Newfoundland and Labrador. The three territories are: Yukon Territory, Northwest Territories and Nunavul.

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pursuant to a federal statute and, since that time, the Supreme Court of Canada has served

as the final court of appeal in al] matters of Canadian law.

In addition to hearing appeals from provincial courts or the federal court of
appeal, the Supreme Court of Canada also provides advisory opinions on questions
teferred to it by the federal government. References to the Supreme Court may raise

questions respecting the laws or powers of either the federal Parliament or the provinces.
(ec) Appointment of Judges

The power to appoint the judges of the superior, district, and county courts of all
provinces is granted to the Crown (as represented by the Governor General of Canada)
pursuant to section 96 of the Constitution Act, 1867. The Crown appoints judges upon the
recommendation of the federal government. There is no requirement of consultation with
or approval by the provinces. This appointing power is significant, since the provincial
courts are general jurisdiction courts with authority over the interpretation and
application of al! provincial laws. Thus, the federal government is given the power to
select the persons who have ultimate authority over the manner in which provincial laws
are to be applied. The Canadian system and, particularly, s.96 appointment of judges, is
thus a departure from the approach taken in many federal states, where provinces or
States are granted the power to appoint judges charged with the responsibility of

interpreting local laws.
(d) Conflicts of laws principles

In Canada, the primary determiner in tort law in selecting the applicable limitation
period is the lex loci delicti (i.e. the location where the alleged wrong occurred).’ The law

of limitations in Canada is generally a matter of provincial legislative competence. In

” Tolofeon v. Jensen, (1994] 3 §.C.R. 1022 (5.C-C).

* Property end civil rights are a matter of provincial jurisdiction under the Canadian constitution, and, although there are a few subject
areas in which the federal government has:authority to legislate limitation periods, negligence is.a matter dealt with in provincial
limitation statutes,

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each province of Canada there are statutes of limitation which are quite distinctive”
Under Canadian law, it would therefore be the limitation period of the province in which

the installation of an asbestos-containing product occurred that would govern.

IV. GENERAL DISCUSSION OF CANADIAN LIMITATIONS STATUTES
(a) Normal Limitation Periods and Ultimate Limitation Periods

The law of limitations considers the time limits within which legal proceedings in
a given set of circumstances must be brought. A limitation period is a stated period of
time, the expiry of which extinguishes a party’s legal remedies. The effect of limitation
periods is that a party seeking a remedy must commence an appropriate proceeding in a
court or tribunal having jurisdiction over the case before the limitation period expires in

order to preserve its legal remedies.

Normal limitation periods are set out in each of the provincial limitations statutes.
In the case of the Claims against Grace, the normal limitation period is six years in all
except one of the common law provinces whose laws are discussed in this report",
subject to the discoverability principle (which will be discussed later in this report). Some
provinces also contain ultimate limitation periods which are “longstop” provisions or
ultimate cut off points within which time a claim must be brought regardless of when the

claims were or ought to have been “discoverable”.

* Limitations Act, R.S.A. 2000, c. L-12; Limpration Act, R.8.B.C. 1996, c. 266; Limitation of Actions Act, C.C:S.M..c.L-150; Limitation
of Actions Act, B.S, N. B. 1973, ¢.L-8, Limitations Act, $.N.1995, ¢.L-16.1; Limitation of Actions Act (also known as the Statute of
Limitations Act), R.S.N.S. 1989, ¢.258, as amended by 1993, c.27, 1995-96, c.13, s.82:2001, 0.6, 5.115; 2003 (2 Sess,), ¢.1, 5.27:
Limitations Act 2002, 5.0. 2002, c.24 Sch.B, Lintitation of Actions Act, §.8. 2004 c.L-16.1.

'° alberta’s act contains & 2 year normal limitation period.

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(b) Characterization of the Claims under Canadian Law

The characterization of the Claims against Grace is significant because the
characterization affects the determination of which limitation period applies and when the

limitation period starts to run.
@ Pure Economic Loss

The Claims that are the subject of the Grace Objection are not characterized in
Canadian law as personal injury or property damage claims. Rather, it is central to the
discussion of limitations law in the context of the Claims against Grace to understand
that, in Canada, claims for the removal or other abatement of asbestos-containing
materials installed in buildings are characterized as claims in negligence for “pure
economic loss”, not as property damage claims. An explanation of this distinction

follows,

Pure economic loss claims are rooted in the theory that there can be recovery for
the cost of removing a potentially hazardous product even though there is no physical
damage, The Supreme Court of Canada dealt with the subject of recovery in tort for pure
economic loss due to alleged defects in the construction of buildings in Winnipeg
Condominium Corporation No. 36 v. Bird Construction Co."\ The Supreme Court of
Canada in Winnipeg Condominium stated conclusively that the cost of repairing or
replacing allegedly defective work and products is characterized in Canadian law as
“pure economic loss” because such costs do not arise from injury to persons or damage
to property. This approach to claims for allegedly defective products in buildings was
applied in Privest Properties Ltd. v. Foundation Co. of Canada Ltd.', the definitive case
in Canada applying Winnipeg Condominium to claims relating to asbestos-containing

materials installed in buildings.

11 11995] 1 S:C.R. 85 (S.C.C).

(1995) 10 W.W.R. 385 (B.C.S.C:), aff'd, [1997] 5 W.W.R. 265 (B.C.C.A), leave to appeal dismissed, [1997]5.C.C.A. No. 216
(S.C.C.).

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Since the decisions in Winnipeg Condominium and Privest, it is firmly established
in Canadian law that, in situations where there is an alleged design flaw or an alleged
defective product in a building, the claim is not characterized as physical property
damage, but rather as a claim for pure economic loss, As such, the Claims which are the
subject of the Objection fall under the heading of pure economic loss, and are subject to

the limitation periods for pure economic loss claims.

(i) Impact on limitation periods

The significance of these Claims sounding in pure economic loss it that the date
upon which the cause of action arises is the date of installation of the allegedly defective
product.” Therefore, the date of installation of the allegedly defective product is the date

from which the ultimate limitation period begins to run.

(ec) The Discoverability Principle

It is of critical importance to understand at the outset. that the discoyerability
principle does not apply to postpone the running of ultimate limitation periods, a concept

that will be discussed below.

In most provincial limitations acts, the limitation period starts to run for the
normal limitation period when the cause of action accrues, The discoverability principle
has developed as a rule of statutory construction’ which states that the limitation period

does not begin to run against a claimant, and may be postponed, until the material facts

"" Armstrong v. West Vancouver (District), [2003] B.CJ. No. 303 (B.C.C.A.)(QL)._

4 retry. Jacob, [1993] W.W.R. | at 6 (Man. C.A.).

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upon which the cause of action is based have been discovered or ought to have been

discovered by the plaintiff with the exercise of reasonable diligence."

To establish a limitations defence, the defendant has only to show that the claim
was brought after the expiry of the limitation period set out in the applicable statute.
Normally this will be done by establishing that more time than provided for in the

applicable limitation period has elapsed between (a) the date of the act or omission on

which the claim is based, and (b) the date on which a proceeding is commenced. °

However, a claimant can overcome a limitation defence by establishing that the material
facts upon which its cause of action is based were not discoverable with the exercise of
reasonable diligence until some time after the date of the alleged wrong. If the plaintiff
raises discoverability arguments, the burden is on the plaintiff to prove that date of
commencement of the running of the limitation period should be postponed until some

time after the date of the alleged wrong.

In all cases where the discoverability principle is invoked, the plaintiff must
establish that he/she exercised reasonable diligence in discovering the material facts upon
which to begin an action. It is clear that wilful blindness to the existence of injury or
damage will not be an effective answer to a limitations defence.'* Furthermore, a plaintiff
cannot simply wait until he or she has an expert report in-hand which supports the claim
before being deemed to have discovered the existence of a claim.” As stated by the

Supreme Court in M. (K.) v. M. (#.), “...plaintiffs are expected to act diligently and not

** See Peizeiro v, Haberman {1997} 3 S.C.R. 549 (S.C.C.) and Novak v. Bond (1999), 172 D.L.R. (4) 385 (S.C.C.}. It was in the mid=
1980°s with the Supreme Court of Canada decisions in Kamioops (City) v. Nielsen, [1984] 2 5.C.R. 2 (8.C.C.).and Centraf Trust
Co, v. Rafuse, (1986) 2 5.C.R 147 at 224 (8.C.C.}that the discaverability principle became firmly entrenched in Canadian
common law.

'’ Knudsen v. Holmes (1995), 22 O.R. (3d) 160 (Gnt. Gen, Div.); Webster v. Webster Estate, (2006} 0.3, No, 2749 (Ont. Sup. Ct)
(Q.L.); Paone v. St. Joseph’s Healsh Centre, (2002] 0.3. No. 4169 (Ont. Sup. Ct} (Q.L.); Miller v. Milfer, [2001] OJ. No. 4385
(Ont. Sup. CL) (Q.L.); Pagiiare v. Pantis (1997), 84 C.P.R, (3d) 149 (Q.C.A_.); Krusef v. Firth, [1991] B.C]. No. 2545 (B.C.C.A.)
(Q.L.).

"" Soper v, Southcott (1998), 39 O.R. (3d) 737 (Ont. C.A ). The case considered s,17 of the Health Disciplines Act, R.S.0. 1990,
c.H.4, under which time in a malpractice action ran from the.date the claimant knew or ought to have known the facts upon which
the allegations of malpractice were made,

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‘sleep on their rights’; statutes of limitation arean incentive for plaintiffs to bring suit in a

timely fashion."

The “reasonable diligence” standard was applied in the specific context of claims
for pure economic loss as a result of asbestos installed in buildings in the case of
Privest.”” Privest is significant to the analysis of limitations in this report. Specifically,
the Privest decision dealt with, inter alia, the notoriety of asbestos and its allegedly
harmful effects on health in its discussion of when claims for pure economic loss for
alleged installation of asbestos products in buildings were discoverable. In Privest the
trial judge ruled that all of the factors necessary to bring an action existed as of the date
of completion of the installation of the asbestos-containing product in the building, Thus,
it was held that the limitation period began to run as of the date of completion of
installation of the asbestos-containing product. Privest was affirmed by the British
Columbia Court of Appeal and leave to appeal to the Supreme Court of Canada was
refused. It is thus the definitive case in Canada on the issue of claims for pure economic
loss arising out of the alleged installation of asbestos-containing products, as ‘well as
being the definitive case on the issue of the notariety of asbestos issues in Canada and,

thus, when such claims were discoverable.

In determining the notoriety of asbestos and the alleged health hazards of
asbestos, the court in Privest relied upon the Supreme Court of Canada decision in
Canadian Indemnity Co. v. Johns-Manville Co. Ltd” In Johns-Manville, the Supreme
Court of Canada held that the alleged health hazards of asbestos were of “public character
and notoriety” in Canada in the late 1960’s and early 1970’s. The Supreme Court of
Canada stated that it was clear from the relevant Canadian and American material that

was placed before the Court that information about asbestos-related health risks had

'® [1992)3S.CR. 6, at para. 24.
911995] 10 W.W.R. 385, aff'd, [1997] 5 W.W.R. 265 (B.C.C.A), leave to appeal dismissed, [1997] 8.C.C.A. No. 216 (5.C.C.),

(1988), 54 D-L.R. (4) 468 (Que. C.A.); (1990) 72 D.L-R. (4"} 478(S.C.C}

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spread well beyond the boundaries of industry knowledge and was by 1970 in wide

public circulation.

In addition to the statement of the Supreme Court of Canada in Johns-Manville, as
well as the decision in Privest, across Canada through the 1960’s, 1970’s, 1980’s and
1990’s there have been numerous regulations requiring building owners to have
knowledge of whether alleged asbestos hazards are present in their buildings. Attached as

Exhibit “D” to this report is a listing of these provincial regulations.

Furthermore, Roger Morse issued a report on what was known about asbestos and
asbestos in buildings in various publications in the United States throughout the 70s, 80s,
and 90s, concluding that by at least the mid-1980’s building owners already had
knowledge or should have been aware of the widespread use of asbestos-containing
materials in buildings and the issues surrounding the use of asbestos-containing materials
in their buildings.” In this regard, it is important to note that the Supreme Court of
Canada in Johns-Manville refused to ignore articles published in American newspapers
and other publications when assessing the notoriety of the alleged health effects of
asbestos in Canada, stating that: “Canadians, and Canadian insurers in particular, are not
isolated from the mainstream of news and knowledge in North America and, in my
respectful opinion, these American articles were relevant to the issue of the public
character of asbestos fibre hazards, at the very least as a compliment to the Canadian
material that was put into evidence.” Roger Morse has also compiled a report on the
information available to Canadian building owners and managers about asbestos-
containing materials in buildings in the 70’s, 80’s and into the mid-90's.2 Mr, Morse
concludes that, based on the vast amount of information on asbestos in buildings that was
available to building owners and managers in the mid- to late 1980°s, and certainly by

1995, building owners should have been aware of the widespread use of asbestos-

a Report af Roger G. Morse, AIA, on Summary of Information Available to Building Owners and Managers About Asbestes in
Buildings, 1970-1995.

2 Report of Roger G. Morse, AIA, on-Summary-of Information Available to Canadian Building Owners and Managers About
Asbestos in-Buildings in the 1970's, 1980's and 1990's.

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containing materials in buildings (including sufacing materials such as fireproofing), the
controversy concerning the alleged potential health effects of asbestos in such building

materials and the development of the asbestos-in-buildings litigation in Canada,

Thus, a claimant would not succeed in avoiding a limitation defence by arguing
that its Claim was not discoverable given (1) the decision in Privest that all material facts
about the asbestos-containing product were known as of the date of installation; (2) the
statement of the Supreme Court of Canada in Johns-Manville on the notoriety of asbestos
in the early 1970's and, at the latest by the late 1970’s; (3) Roger Morse’s reports and
opinions on the notoriety of the issues surrounding the use of asbestos-containing
materials in ‘buildings in Canada and the United States; and (4) the Canadian legislation
throughout the 1970’s and 1980’s imposing duties on building owners to know about

asbestos.

(d) Fraudulent Concealment

Fraudulent concealment is the concealment of the existence of a cause of action
by the fraud of the person relying on a limitations defence. A number of provincial

limitation acts contain general provisions dealing with fraudulent concealment.”

Fraudulent concealment on the part of one party prevents the normal limitation
period from running until it is discovered by the claimant (or ought to have been
discovered with reasonable diligence) and where there are no laches on the part of the

claimant. The onus of proving fraudulent concealment is on the claimant,

As a general rule, fraudulent concealment will not postpone the running of

ultimate limitation periods since, to do so, it would be inconsistent with the policy

? Section 4 ofthe Alberta Act. Manitoba's former Act, (which applies to the present.claims), contained a fraudulent. concealment
provision at section 5. British Columbia's Act deals with fraud in the.context of grounds for postponement of the running of time in
subsections 6(3) and 6(4). Ontario's former limitations act, (which applies to-the present Claims) did not contain a gencralty
applicable fraudulent concealment provision, but rather only contained a section that pertained to concealed fraud im actions to
recover [and (5.28) and fraud on the part of a trustes (5.43(2)). Nova Scotia's act only contains a section. that pertains to concealed
fraud in actions to recover land (3.29).

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rationale behind ultimate limitation periods.” Ultimate limitation periods and their

application are discussed in greater detail in the next section.

Fraudulent concealment is not a concept that could apply to the Claims against
Grace.* Furthermore, even if the concept were applicable (which it is not) an element of
reasonable diligence is required on the part of a claimant who asserts fraudulent
concealment.” Given the notoriety of asbestos related health risks and asbestos in
buildings, it is my opinion that even if fraudulent concealment were applicable to the
Claims, a claimant could not demonstrate fraudulent concealment. Put simply, one cannot

conceal what is well-known or notorious.

¥. APPLICATION OF LIMITATION PERIODS TO CLAIMS AGAINST ‘GRACE
A. Ultimate Limitation Periods

Ultimate limitation periods, sometimes referred to as “longstop” provisions, set an
outside time limit for asserting a claim, regardless of discoverability considerations.
Ultimate limitation periods run from the date of installation”” A statutory provision
postponing the running of the limitation period on the basis of the discoverability

principle jis thus “trumped” where a province's limitation statute contains an ultimate

4 Alberta's limitations statute states in subsection.4(1) “The operation of the limitation period provided by section 3(1b) is
suspended during any period of time that the defendant fraudulently conceals the fact that the injury for which a remedial order is
sought has occurred.” However, as I will discuss in the next paragraph, fraudulent concealment only applies in narrow
circumstances which are distinguishable from the circumstances involving the Claims against Grace,

25 The Alberta Court of Appeal per Wittman J.A. in Hees v. Lynch (2000), 255 A.R. 359-(Alt. CA.) reiterated the traditional
definition in Kitchen v, Royal Air Forces Ass'n (1958) 2 All E:R. 241 requiring a “special relationship” between the parties for
fraudulent concealment toarise. Furthermore, Cameron J. in Buell v..CL8.C. Wood Gundy Securities Inc., [1998] OJ. No. 2861
{Ont Gen. Div.) (Q.L. (2 case invalving economig loss claims in a jurisdiction in which the common law ‘discoverability rule
applied) stated that the dectrine of concealed fraud will stay the running of a statutory limitation period-where the defendant's
conducl constitutes abuse of aconfidential relationship. This does not exist in the present Claims against Grace. The relationship
between Grace and the Claimants is a consumer relationship which does not fall within the “special relationship” contemplated by
Lord Evershed in Kitefen.

*8 pasckowshi v. Canada (Attorney General), 2006 F.C, 198 (F.C.C.).

27 Armstrong v. West Vancouver (District), {2003] B.C.J. No. 303 (B.C.C.A.)(Q.L,); Dean v. Kociniak, [2001] .A.J. No, 643 (Alu.
OB}{QL).

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limitation period. Ultimate limitation periods provide defendants with protection from
stale claims and ensure that defendants are not subject to open-ended liability. The policy
rationale behind such provisions was explained by the Manitoba Court of Appeal in
M.(M.) v. Roman Catholic Church of Canada” as follows:

“The purpose of a longstop provision is to give a sense of absolute finality
in certain cases. As with all limitation periods, it represents the legislative
attempt to create proper balance. Injured parties should not be deprived of
a.claim because of circumstances beyond their control, suchas minority or
incapacity or discoverability. Putative defendants, on the other hand,
should not be compelled to have the sword of Damocles hanging over
their heads forever. The first objective can ‘be met if the period is truly
long; 30 years in Manitoba. The second objective can be met, however,
only if that very long period applies no matter what, even in the face
of ongoing and continuing disability or in the absence of knowledge
despite reasonable efforts. A legislated longstop provision prescribes a
date by which courts and parties alike are obliged to recognize that there
has been closure. If societal standards of the past are later regarded as
unacceptable or unjust in the eyes of a new generation, and if remedies or
compensation are deemed to be necessary to rectify the situation, then that
initiative must come from government policy and legislative action.”
[emphasis added]

The applicable limitations statutes in Alberta, British Columbia, Manitoba, and
Newfoundland & Labrador contain ultimate limitation periods. Many of the Claims
against Grace arising out of alleged installation of Grace products in buildings are time-
barred due to the operation of the provincial limitations statutes’ ultimate limitation
provisions. Specifically, Alberta’s 10 year ultimate limitation period bars Claims ‘for
installations of Grace products that were allegedly installed on or before April 2, 1991.
Furthermore, Claims against Grace arising out of alleged-installation of Grace products in
British Columbia, Manitoba, Newfoundland and Labrador buildings prior to April 2,
1971 are time-barred due to the operation of those provinces’ 30 year ultimate limitation

provisions.

28 9001 MBCA 148, at para.41.

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i Alberta

The current Act” in Alberta applies to proceedings commenced on or after March

1, 1999. The Act contains a 10 year ultimate limitation period, which states:

3(1) ‘Subject to section 11, if a claimant does not seck a remedial order
within
(a) 2 years after the date on which the claimant first knew, or in the
circumstances ought to have known,
(i) that the injury for which the claimant seeks a remedial
order had occurred,
(ii) that the injury was attributable to conduct of the defendant,
and
(iii) that the injury, assuming liability on the part of the
defendant, warrants bringing a proceeding,
or
(b) 10 years after the claim arose,
whichever period expires first, the defendant, on pleading this Act as a
defence, is entitled to immunity from liability in respect of the claim.
[emphasis added]

Claimants thus have 10 years from when the claim arises, regardless of
discoverability, to bring a Claim.” Accordingly, it is my opinion that Claims with respect
to alleged instailations of Grace product into Alberta buildings that allegedly occurred
prior to April 2, 1991 are time-barred by the ultimate limitation period (April 2, 2001 -
10 years = April 2, 1991).

The remaining Alberta Claims are time-barred by the normal limitations period as

discussed in section V. B. of this report entitled “Normal Limitation Periods”

29 1 imitations Act, RS.A, 2000, c. L-12.

> Bowes v, Edmonton (City), [2005] AJ. No. 941 (Alta. Q.5.)(Q.L.}; Dean v. Kociniak, [2001] AJ. No..643 (Alta Q.B.)(Q.L.) Note,
however, that the ultimate limitation period does not start to run for third party claims for contribution until discoverable by the
third party, (see Dean v. Kociniak os wellas James 2. Meek Truss v. San Juan Resources inc., 2005 ABCA 448 (Alla C.A.), at
para.36}.

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(ii) British Columbia

The applicable limitations act’ in British Columbia contains an ultimate

limitation provision at subsection 8(1) which states:

8 (1) Subject to section 3 (4) and subsection (2) of this section but despite
a confirmation made under section 5, a.postponement or suspension of the
running of time under section 6 or 11 (2) or a. postponement or suspension
of the running of time under section 7 in respect of a person who is not a
minor, no action to which this Act applies may be brought

(a) against a hospital, as.defined in section 1 .of the Hospital Act, or against
a hospital employee acting in the course of employment.as a hospital
employee, based on negligence, after the expiration of 6 years from the
date on which the right to do so arose,

(b) against a medical practitioner, based on professional negligence or
malpractice, after the expiration of 6 years from the date on which the
right to de so arose, or

(c) in any other case, after the expiration of 30 years from the date on

which the right to do so arose. [emphasis added]

The British Columbia case law has interpreted “30 years from the date on which
the right to do so arose...” as meaning that a plaintiff has 30 years from the date of
installation of the allegedly defective building product to bring his or her claim.”
Accordingly, it is my opinion that Claims based on alleged installations of Grace product
in British Columbia buildings prior to April 2, 1971 are time-barred by the ultimate
limitation period (April 2, 2001 — 30 years = April 2, 1971).

3) 1 imitations Act, R.S.B.C. 1996, ¢. 266.

32 Armstrong y. West Vancouver (District). [2003] B.C.J. No. 303 (C.A.) (Q.L).

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(iii) Manitoba

Subsection 19(1) of the current limitations statute in Manitoba™ (the transitional

provision) reads as follows:

19(1) Subject to subsection (2), this Part has effect in relation to causes
of action that accrued before as well as causes of action that accrued after
July 29, 1980 and has effect in relation to any cause of action that accrued
before that date notwithstanding that an action in respect thereof had been
commenced and is pending on that date.

The application of the Act provision is set out at section 58 of the current

legislation and reads as follows:

38 This Act applies to all causes of action whether they arose before or
after the coming into force of this Act,
As such, the current limitations act applies to the present Claims. The current

limitations act contains an ultimate limitation provision at subsection 14(4) which states:

The court shall ‘not grant leave

(a) —_‘ to begin an action; or

(b) to continue an action that has been begun

more than 30 years after the occurrence of the acts or omissions that

gave rise to the cause of action. [emphasis added]

Thus, the ultimate limitation period begins to run at the occurrence of the act(s) or
omission(s) that gave rise to the cause of action. As such, it is my opinion that the
ultimate limitation period in ‘subsection 14(4) runs from the date of alleged installation,
and bars Claims based on all alleged installations of Grace products in Manitoba

buildings prior to April.2, 1971 (April 2, 2001 — 30 years = April 2, 1971).
(tv) Newfoundland and Labrador

The current limitations act in Newfoundland and Labrador applies to the Claims

against-Grace.™* The ultimate limitation period at section 22 of the act states:

” the Limitation of Actions Act, C.C.S.M. ¢.L!50.

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22. Notwithstanding a confirmation made under section 16 or a

postponement or suspension of the running of time under sections 13, 14

and 15, no action to which this Act applies shall be brought after the

expiration of 30 years from the date on which the event which gave

rise to the cause of action last occurred.[emphasis added]

The event giving rise to the cause of action is the alleged installation of the
asbestos product in buildings, As such, all claims in relation to the alleged installation of
Grace products into Newfoundland and Labrador buildings that took place prior to April

2, 1971 (30 years prior to the Bar Date) would be time-barred.
fy) Neva Scotia

The current Nova Scotia limitations act applies to the Claims against Grace
arising in that province.’ The current act does not contain an ‘ultimate limitation

provision.
(vi) Ontario

Ontario did not have an ultimate limitation period until] the effective date of the
new Limitations Act, (i.e. January 1, 2004). The transition provision of the new act
mandates that proceedings commenced before January 1, 2004 are governed by the
previous act’s limitation period. The previous act did not contain an ultimate limitation

period.

B. Normal] Limitation Periods

The remaining Claims, that is, those which are not automatically barred by
‘ultimate limitation periods, are time-barred by the provinces’ normal limitation periods.
Furthermore, it is my opinion that discoverability arguments would not be successful in

postponing the running of the limitation periods past the date of installation of the

M Limitations Act, 8:8,L. 1995, 6 L-t6.4.

5 Limitation of Actions Act, R.S.NS. 1989, ¢. 258

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asbestos-containing product in the buildings, Indeed, aside from these obstacles, for a
discoverability argument to operate successfully, a claimant would have to demonstrate
that the Claims were not discoverable in Alberta until on or after April 2, 1999, and that
the Claims were not discoverable in the rest of the provinces until on or after April 2,
1995. It is my opinion that a plaintiff would face an insurmountable barrier to succeeding
with such an argument, given (1) what was stated in Privest, (2) what has been stated
about the notoriety of asbestos issues by the Supreme Court of Canada in Johns-Manville,
(3) the requirements in provincial regulations, and (4) Roger Morse’s reports and
opinions on the notoriety of the issues surrounding the use of asbestos-containing
materials in buildings in Canada and the United States. The following is a province-by-

province application of the normal limitation periods.
D Alberta

The Alberta® Act is comprehensive in setting out the applicable limitation period
in any given circumstance and when the limitation period starts running. The Act
combines the ultimate limitation period, discoverability, and normal {imitation period in

the same section, which states:

3(1) Subject to section 11, if a claimant does not seek a remedial order
within
{a) 2 years after the date on which the claimant first knew, or in the
circumstances ought to have known,
(i) that ‘the injury for which the claimant seeks a remedial
order had occurred,
(it) that the injury was attributable to conduct of the defendant,
and
(iii) that the injury, assuming liability on the part of the
defendant, warrants bringing .a proceeding,

(b) ‘10 years after the claim arose,
whicheyer period expires first, the defendant, on pleading this Act as a
defence, is entitled to immunity from Hability in respect of the claim,

(3) For the purposes of subsection (1}(b),

* Limitations Act, S.A..1996, ¢. L-15.1, note that the Act was not brought inte force until March 1, 1999,

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{a) a claim or any number of claims based on any ‘number of breaches

of duty, resulting from a continuing course of conduct or a series of related

acts or omissions, arises when the conduct terminates or the last act or

omission occurs;

(b)  aclaim based on a breach ofa duty arises when the conduct, act or

omission occurs;

Paragraph 3(3)(a)-of the Act imposes on the Claimant the burden of proving that
the Claim was brought within the limitation period. A Claimant attempting to invoke the
postponement provision would only be able to succeed if the Claimant were able to
successfully demonstrate al! 3 of the postponement prerequisites in paragraph 3(1)(a) of
the Act. It is my opinion that a claimant would not be successful in demonstrating that it
did not know the aforementioned factors prior to April 2, 1999 (i.e, two years prior to the
effective date of the commencement of this proceeding) given the notoriety of asbestos

issues prior to that date.
(ii) = British Columbia

In each of the versions of the limitations statute from 1975 to the present,” the
limitation period is six years, commencing from the date on which the right to bring an
action arose. The Claims against Grace fall within subsection 3(5), the “catch-all”

provision of the act”, which states:

3(5). Any other action not specifically provided for in this Act or any other

Act shall not be brought after the expiration of 6 years from the date on

which the right to do so arose,”

For Claims where the alleged installation of Grace products in British Columbia

buildings occurred after April 2, 1971, (prior to which the ultimate limitation period

7? Limitations Act, S.B.C. 975, ¢. 37; Limitation Aes, R.S.B.C. 1979, c. 236; and Limitation Act, R.S.B.C. 1996, c. 266,

38 The Claims fall within the catch-all provision because claims for pure economic loss are not_pravided for specifically in-the statute.

* The case law-makes it clear that another potentially relevant provision, referring to “an action for damages in respect of injury to
property, including econamic loss arising therefrom, whether based on contract, tort, or statutory duty” does not apply to allegedly
defective products in buildings. See The Owners, Straia Plan NIV 334} v. Delta (Corporation), 2002 BCCA 526 (B.C.C.A,).

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would apply), the 6 year limitation period would apply, subject to a successful

postponement argument. The postponement provision in the Act states:

6.(3) The running of time with respect to the limitation periods set by this
Act for any of the following actions is postponed as provided in
subsection (4):

(a) for personal injury;

(b) for damage to property;

(c) for professional negligence;

{d} based on fraud or deceit;
(e) in which material facts relating to the cause of action have been
wilfully concealed;

(f) for relief from the consequences of a mistake;

(g) brought under the Family Compensation Act;

(h) for breach of‘trust not within subsection (1).

(4) Time does not begin to run against a plaintiff with respect to an action
referred to in subsection (3) until the identity of the defendant is known to
the plaintiff and those facts within the plaintiffs means of knowledge are
such that a reasonable person, knowing those facts and having taken the
appropriate advice a reasonable person would seek on those facts, would
regard those facts as showing that

(a) an action on the cause of action would, apart from the effect of the
expiration of a limitation period, have a reasonable prospect of success,
and

(b) the person whose means of knowledge is in question ought, in the
person's own interests and taking the person's circumstances into account,
to be able to bring an action. .

(5) For the purpose of subsection (4),
(a) "appropriate advice", in relation to facts, means the advice of
‘competent persons, qualified in their respective fields, to advise on the
medical, legal and other aspects of the facts, as the case may require,
(b) "facts" include
(i) the existence of.a duty owed to the plaintiff by the defendant,
and
(ii) that a breach of a duty caused injury, damage or loss to the
plaintiff,
(c) ifa person claims through a predecessor in right, title or interest, the
knowledge.or means of knowledge of the predecessor before the right, title
or interest passed is that of the first mentioned person, and

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(6) The burden of proving that the running of time has been postponed
under subsections (3) and (4) is on the person claiming the benefit of the
postponement,

(7) Subsections (3) and (4) do not operate to the detriment of a purchaser

in good faith for value.[emphasis added]

The postponement provision in the statute creates two different tests. The first test
relates to discovery of the identity of an individual defendant, the second to discovery of
facts from which it may be concluded that there is a reasonable possibility that an action
against that potential defendant would succeed. The first test requires the court to decide
when that potential defendant’s identity would have been reasonably known to the
plaintiff. The secend test requires that the court determine when facts, from which it
could be concluded that a successful action could be brought against the potential
defendant, would reasonably have been within the plaintiff's means of knowledge. The
time for the commencement of the limitation period runs from the latest of these dates:

when the plaintiff could have reasonably discovered such facts.

In order to succeed against a limitations defence, a claimant would therefore have
to demonstrate that it could not reasonably have known that Grace was a potential
defendant and that the facts from which it could be concluded that a successful action
could be brought against Grace were not reasonably within the claimant’s knowledge
prior to. April 2, 1995, (i.e. six years before the date Grace filed for bankruptcy). Given
the notoriety of the issues surrounding the use of asbestos-containing materials in
buildings prior to 1995, a discoverability argument would not be successful in defeating a
limitation argument, Therefore, it is my opinion that all remaining Claims in British

Columbia are time-barred.

*° Krusel v. Firth, [1991] B.C.J. No. 2545 (B.C.C.A.) (QE).

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(iii) Manitoba

From 1931 to the present,” in each of the limitation statutes governing in
Manitoba, there have been two possible causes of action that could potentially capture the
Claims against Grace. However, nothing significant turns on which of these provisions
best applies, since both provisions provide for the same limitation period of six years,

running from “when the cause of action arose”.”

Any claims based on alleged installation of Grace products in Manitoba buildings
after April 2, 1971 would have to be brought within the six year limitation period set
forth in the Act, subject to the operation of the postponement provision at subsection
14(1) of the Act, which states that an applicant may seek leave to commence an action
that is outside the ordinary limitation period where the applicant can demonstrate that it
did not know all the material facts of a decisive nature relevant to its proposed action

‘before the limitation period expired. Specifically, subsection 14(1) states:

14(1) ... the court, on application, may grant leave to the applicant to
begin or continue an action if it is satisfied on evidence adduced by or on
behalf of the applicant that not more than 12 months have elapsed between
(a) the date on which the applicant first knew, or, in all the circumstances
of the case, ought to have known, of.all material facts of a decisive
character upon which the action is based; and

4b) the date on which the application was made to the court for leave.

The onus of proving that there should be postponement of the running of the

normal limitation period is on the claimant.” If the claimant files its claim outside the

"' Limitation of Actions Act, 1931, RSM. 1931, c. 30; Limitation of Actions Act, R.S.M. 1940,-c. 121; Linuiation of Actions Act,
.R:S.M, 1954, ¢. 145; Limitation of Actions Act, R.5.M. 1970, c. L150; and The Limitations of Actions Act, R.S.M. 1987, c. LILO;
Limitation of Actions Act, C.C.S.M. e:L150,

* Those provisions each read as follows: “The following actions shall ‘be commenced within and not after the times respectively
hereinafter mentioned: . . . actions for trespass or injury to real property or chattels, whether direct or-indirect,and whether arising
from an unlawiui act.or from negligence, or for the taking away, conversion or detention of chattels, within six years after the:causea
of action grose”, and “any other action not in this or any other Act specifically provided for within six years after the cause of
action arose.” in the Limitation of Actions Act, R.S.M. 1970, c. L150, the former cause of action reads {at section 3(1 Xe} of the
Act) as follows: “The following actions shall be comimenced ‘within and not after.the limes respectively thereinafter mentioned:
Actions for trespass or injury to real property, whether direct or indirect, within six years after the cause of action arose.”

© Limitation of Actions Act, C.C.S.M. ¢.L150, s.7(6).

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limitation period without first obtaining leave to do so, pursuant to subsection 15(3)“ of
the Act, the claimant must also demonstrate that, at the time of filing, the claimant did not

know, or reasonably ought to have known, that the action was time-barred.

With respect to the postponement provision in subsection 14(1), “material facts”
are deemed to be facts of a decisive character if they were facts which a person of the
claimant’s intelligence, education and experience, knowing those facts and having
obtained appropriate advice in respect of them, would have reasonably regarded at that
time as determining, in relation to that cause of action, that an action would have a
reasonable prospect of succeeding and resulting in an award of damages or remedy

sufficient to justify the bringing of the action.

To be successful! against a limitations defence, a claimant would thus have to
demonstrate that on the date Grace filed for bankruptcy, (April 2, 2001), it did not know
that the Claim was time-barred. The claimant would also have to.show that as of April 2,
2001, not more than | year had elapsed between the date on which the claimant first
knew or, in all the circumstances, ought to have known, all material facts of a decisive

nature upon which its Claim was based.

In my opinion, a claimant would not succeed in arguing that, through the exercise
of reasonable diligence, the Claim against Grace was not discoverable until on or after
April 2, 2000. Given the notoriety of asbestos issues discussed earlier, it is my opinion
that any of the remaining Claims against Grace involving Manitoba properties are time-

barred.

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Subsection 15(3) states:
15(3) Where an application is made by a plaintiff under section 14 to continue an action already begun by him,
the court shal! not grant leave unless,.on evidence adduced by the plaintiff, it appears to the court that, only efter
the date the action was begun, the plaintiff first knew or, in all the circumstances of the case, ought to have
known, that the matters constituting the cause of action had occurred at a time which, apart from section t4,
afforded a defence based on a provision of this Act or of any other Act of the Legislature limiting the time for
beginning the action. :

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(iv) Newfoundland and Labrador

In the 1995 Limitations Act® it is unclear whether claims for pure economic loss

fall under subsection 5(a) or section 9. Subsection 5(a) states:

3(a) Following the expiration of 2 years after the date on which the-right to
do so arose, a person shal! not bring an action for damages in respect of
injury to a person or property, including economic loss arising from the
injury whether based on contract, tort or statutory duty.

Section 9 states:

9. An action for which a provision as to limitation is not made in sections

5 to 8 or in another act shal! not be brought after the expiration of 6 years

after the date on which the cause of action arose.

The case law is not clear as to which of the two limitation periods applies in the
present circumstances,” There is significance as to which of the sections of the Act
applies, in that subsection 5(a) sets out a 2 year limitation period, whereas section 9 sets
out a 6-year limitation period. Furthermore, if the Claims fall under subsection 5(a), they
are subject to the 10 year “ultimate” limitation on discoverability that applies to property
damage claims under subsection 14(3).” Given the law established by Winnipeg

Condominium, the present Claims against Grace are claims for pure economic loss,

%5 sy imitations Act, $.N.L. 1995, ¢. L-16.1.

* Quigley v. St. John's (City), [2001] NJ.No. SBN S.CCA) (QL)

" Section 14 of the Act states:
14.(1) Notwithstanding section 13, in an action

(a) for personal injury;

{b} property damage;

(c} professional negligence;

{d)} for relief from the consequences of a mistake;
te) under the Fatal Accidents Act ; and

for a non-fraudutent breach of trust,
the limitation period-fixed by.this Act does not begin to run against a person until he or she knows or,
considering all circumstances.of the matter, ought to know that he or she has.a cause of action.

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(2 The burden of proving that the ninning of the limitation-period has been postponed or suspended
under this section is on the person claiming the benefit of that postponement or suspension.
3) Notwithstanding subsection (1), an action included in subsection (1) shail not be taken by a person
after the expiration of 10 years from the later of the date of

(a} the act or omission ont which that action is based; or

(b) the fast of a series of acts or omissions or the termination of a course of conduct where

that action is based upon a series of acts or omissions ora continuing course of conduct.

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distinguishable from “property damage” and, as such, fall under section 9 of the Act.
There is no corresponding postponement provision, However, the common law

discoverability rules would apply where justifiable in the circumstances.

Therefore, allowing for the most generous possible interpretation from the
claimant’s perspective, the 6 year limitation period set out at section 9 of the Act would
apply to alleged installations of Grace products that occurred after April 2, 1971. The
effect of the 6 year limitation period is that it would bar any Claims made with respect to
alleged installations of Grace products that occurred prior to April 2, 1995, subject to
successful discoverability arguments. However, it is my opinion that claimants will not
succeed in demonstrating that their Claims were not discoverable until on or after Apri) 2,

1995, given the notoriety of asbestos issues prior to that date.
(vy) Nova Scotia

In each of the versions of the limitation statute applicable in Nova Scotia from
1923 to the present, the applicable provision for “an action for trespass on the case” must
be brought within six years after the cause of any such action arose.” The particular

provision in the act states:

2 (1) The actions mentioned ‘in this Section shall be commenced within
and not after the times respectively mentioned in such Section, that is to
say:

(e) all actions grounded upon any lending, or contract, expressed or
implied, without specialty, or upon any award where the submission is not
by specialty, or for money levied by execution, all actions for direct
injuries to real or personal property, actions for the taking away or
conversion of property, goods and chattels, actions for libel, malicious
prosecution and arrest, seduction and criminal conversation and actions for
all other causes which would formerly have been brought in the form of
action called trespass on the case, except as herein excepted, within six
years after the cause of any such action arose; ...

" ‘The Statute of Limitations, R.S.N.S. 1923, ¢. 238; The Statute of Limitations, RS.N.S. 1954, c. 153; Limitation of Actions Act,
R.S.N.S. 1967, c. 168; Limitation of Actions Act, R.S.N.S. 1989, c, 258; and Limitation af Actions Act, R.S.N.S. 1989, c. 258.

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The limitations act does not contain a statutory postponement provision. As such,
the six year statutory limitation period applies subject to the common law discoverability
principle.” The successful claimant would have to demonstrate that the cause of action
against Grace was not discoverable prior to April 2, 1995. As discussed above, it is my
opinion that the claimants would not succeed in asserting that their Claims were not
discoverable until on or after Apri] 2, 1995, given the notoriety of asbestos issues prior to
that date.

(vi) ~— Ontario

The current limitations act provides for a 2 year limitation period.” However, it is
the former act which applies in the present case.*' The applicable limitation period in the
former act was six years, running from the date the cause of action arose.” Specifically,

section 45(1}(g) of the former act stated:

45. (1) The following actions shail be commenced within and not after the
times respectively hereinafter mentioned,

(g) an action for trespass to goods or !and, simple contract or debt

grounded upon any lending or contract without specialty, debt for arrears

of rent, detinue, replevin or upon the case other than for slander, within six

years after the cause of action arose,...

The former act did not contain a postponement provision. Nevertheless, when
there is no statutory postponement provision, and a discoverability argument is asserted
by the claimant, the common law discoverability principle will determine whether the
running of the limitation period should be postponed. Given the notoriety of the issues

surrounding the use of asbestos-containing materials in buildings prior to 1995, a

“ Burt v, LeLacheur (2000), 189 D.L.R. (4%) 193 at 198 (N.S.S.C.A.).
* Limitations Act 2002, SO. 2002, c. 24, Schedule B.

4 Limitations Act, R.8.0. 1990, c. I-15.

* The current legislation is not based on enumerated causes of action but provides for a basic limilation-period which reads as follows
at section 4: “Unless this Act provides otherwise, a proceeding shell not be commenced in respect of a claim after the secand
anniversary of the day on which the claim was discovered”: Limitations Act 2002, 8.0. 2002, c, 24, Schedule B.

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claimant would not succeed in arguing that, through the exercise of reasonable diligence,
the Claim against Grace was not discoverable until on or after April 2, 1995.
Accordingly, it is my opinion that the instant Claims against Grace involving Ontario

properties are time-barred.

Vi SUMMARY

Using the date that Grace filed for bankruptcy (April 2, 2001) as the pertinent date
from which we can assess limitations issues, it is my opinion that ‘all of the Claims are
time-barred as a result of the provincial limitations acts’ ultimate limitation periods and

normal limitation periods.

In Alberta, all Claims with respect to Grace products allegedly being installed in
buildings prior to April 2, 1991 are time-barred due to the operation of Alberta’s 10-year
ultimate limitation period. In fact, Grace stopped selling asbestos-containing products

more than 15 years prior to the ultimate limitation period cut-off date of April 2, 1991.

In British Columbia, Manitoba, Newfoundland and Labrador, all Claims with
respect to Grace products allegedly being installed in buildings prior to April 2, 1971
would be time-barred due to the operation of the 30 year ultimate limitation period. Any
installations of MK-3 or acoustical plaster after April 2, 1971 are subject to a 6 year
limitation period. Therefore, in respect of any Claims that survive the April 2, 1971
ultimate limitation cut-off date, the claimants have the onus of proving that such Claims
were not discoverable until April 2, 1995 (6 years prior to the Claim date). It is my
opinion that a claimant would not be able to make this argument successfully, As such, it

is my opinion that the remaining Claims in these three provinces are also time-barred.

In Nova Scotia and Ontario, Claims originating from alleged installation of Grace
products in buildings are subject to a 6 year limitation period. As such, for the Nova
Scotia and Ontario Claims to be successful, the claimants would have to prove that such

‘Claims were not discoverable until April 2, 1995. It is my opinion that a claimant would

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not be successful in making this argument. As such, it is my opinion that the remaining

Claims in Nova Scotia and Ontario are also time-barred.

Toronto, 21 December 2006

fg —

ew, B.A. (Hons), LL.B, FCIArb,

Graeme
Barrister (England & Wales), Barrister & Solicitor (Ontario)

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POSITION:

PERSONAL:

EDUCATION:

PROFESSIONAL AND
BUSINESS HISTORY:

RANGE OF
EXPERIENCE:

EXHIBIT A
GRAEME MEw

‘Nicholl Paskell-Mede
Lawyers — Avocats
390 Bay Street, Suite 612, Toronto, Ontario. M4H 2¥2. Canada

Tel: +1.416.366.4555 +1.416.922.0020 (mobile)
Fax, +1.416.366.6110

Email: gmew@npm.ca

Web: Wyw.npmeca

Office Managing Partner, Nichol! Paskell-Mede (Toronto Office); Member
of the Chambers of Roger Stewart QC at Four New Square, Lincoln's Inn,
London.

Bom London, England, 1959. British and Canadian citizen. 2 children.
Principal residence in Toronto, Canada.

Kingston University (formerly Kingston Polytechnic), B.A. (Honours) Law,
1980 {Law School Prize}; University of Windsor, LL.B., 1986 (Dean's Honour
Roll). Professional legal education at the Inns of Court School of Law jin
Londen and Osgoode Hall (Law Society), Toronto. A qualified arbitrator
(Fellow of the Chartered Institute of Arbitrators) and mediator (University of
Windsor Faculty of Law; CEDR Accredited Mediator)

Qualifications: Barrister (England and Wales), 1982; Barrister and Solicitar
(Ontario), 1987; Admitted pro hac vice as an Attomey, District Court of the
United States Virgin Islands in 2003; Fellow of the Chartered Institute of
Arbitrators, 1994; Centre for Effective Dispute Resolution (CEDR) Accredited
Mediator, 1999.

1982-84 Pupil to Paul Norris. 1985-2000 Non-resident member of the
Chambers of Sir Ivan Lawrence QC at i Essex Court, Temple, London
EC4Y 9AR. 2001 - joined Four New Square. 1987-89 Associate, Dutton
Brock, 1989 - 2005 Associate, then Partner (1992) at Smith Lyons, Toronto
(merged with Gowling Lafleur Henderson LLP in September 2001), 2006 —
joined Nichol! Paskell-Mede.

Principally practising as an advocate, mediator and arbitrator. Experience in
many areas of civil, administrative and criminal litigation with appearances
before trial and/or appellate courts in England & Wales, British Columbia and
Ontario, including the Supreme Court of Canada and before administrative
tribunals and boards, including the Employment Tribunal, the Financial
Services Commission of Ontario, the Workplace Safety and Insurance
Appeals Tribunal, the Immigration Appeal Board and the Canadian
International Trade Tribunal. Continuing to assist clients with legal concems
arising under both Canadian and English law. Advising on and directing
litigation in a number of jurisdictions in the United States and the
Commonwealth Caribbean.

Particular areas of practice include insurance law (coverage, defence,
primary/excess and reinsurance issues), products liability, personal injury,
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NICHOLL PASKELL-~MEDE

PUBLICATIONS,
SPEECHES &
COURSES TAUGHT:

2

professional liability,-directors' and officers’ liability, transportation, business
disputes, other contract and tort litigation, sports and entertainment disputes,
administrative law and conflict of laws issues. Head of Gowlings’ National
Insurance and Professional Liability Practice Group 2002-2005. Ranked by
The Canadian Legal Lexpert Directory as a Leading Practitioner in Litigation-
Commercial insurance.

As the author of the leading Canadian text on the law of limitations, regularly
retained to advise on limitation issues and to “repair” potential errors and
omissions claims against lawyers. Regularly cited by courts in Canada-on
limitation issues.

Expert witness retainers on the Canadian law of limitations, English law
(retained by Canadian clients) and Ontario law (retained by English clients).

Extensive experience as both counsel and neutral with arbitration, mediation

‘and other forms of non-court dispute resolution. Panel arbitratorfor the ADR

Institute of Canada, ADR Chambers (UK), ADR Chambers International,
Sports Dispute Resolution Centre of Canada, The Private Court and the
International Centre for Dispute Resolution (American Arbitration
Association). Judicial officer for the International Rugby Board. Roster
mediator for the Ontario Superior Court (Toronto) 1999-2004. A Chair of
Appeals at the Rugby World Cup, Sydney, Australia, 2003. Arbitrator of the
Court of Arbitration for Sport, Lausanne, Switzerland.

Nicho!l Paskell-Mede is a defence and insurance litigation firm founded in
1992, which handies claims and litigation across Canada from its offices in
Montreal and Toronto,

NPM represents an international client base of property, liability and special
risks insurers, as well as corporations in both insurance and non-insurance
related matters, including product liability and class actions. The firm’s
practice is focused principally on liability defence and coverage litigation
including class actions, but also extends beyond the traditional claims-
related services to include arbitration, mediation, claims audits, policy
drafting and review, and risk management consulting. NPM believes that the
specialised expertise and experience it has developed in the finn's area of
Practice allows them to give their clients added value and efficient, cost
effective service. NPM is a team of 30 lawyers, many of whom are fluently

bilingual (English and French) and hold both civil! and common law degrees.

Author of The Law of Limitations, published by Butterworths in 1991 and
2004 (2 Edition). Has written extensively for publication in both Canada
and the United Kingdom on limitations, insurance law, remedies and legal
professional issues. Panel member and speaker in the Continuing Legal
Education programmes of the Canadian Bar Association, the Law Society of
Upper Canada, the ADR Institute of Ontario, the Commonwealth Lawyers’
Association, the Continuing Legal Education Society of British Columbia and
the Advocates’ Society on personal injury, civil evidence, products liability,
insurance, professional responsibility, international law, ADR and limitations
topics. Guest instructor at the annual Intensive Trial Advocacy Programme
at Osgoode Hall Law School.

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PROFESSIONAL AND
BUSINESS
AFFILIATIONS:

COMMUNITY
INVOLVEMENT:

Articles and Recent Presentations on limitation related issues include:

Case Comment — Seals and Limitations, (1999) 21 Adv. Q. 523

Taking on the Government in Time: An Overview of Government Limitations

(2001) The Litigator (Ontario Trial Lawyers Association)

The Limilations Act, 2002 — Learn the New Rules Before Time Runs Out,
(2203) Law Society of Upper Canada/Interactive Learning Network

Limitations Act 2002: A huge reform of existing law, (2003) Practice Pro
(Lawyers Professional Indemnity Company)

When Does Time Start to Run? (2004) 28 Adv. Q. 448

Update on the Limitations Act, 2002: Variations on a Familiar Theme, (2006)
Ontario Bar Association

Member of committees of the Law Society of Upper Canada considering the
role of benchers (1988-97) and on bencher voting (1990-91). Active
participant in the affairs of the Advocates’ Society, the Canadian Bar
Association and the Commonwealth Lawyers Association. Executive
Committee, ADR Section of the Canadian Bar Association (Ontario) 1997-
98. Chair of Advocates’ Society's Limitation Act Reform committee (2000-2).
Commonwealth Lawyers Association (Honorary Secretary 2003-2005,
President 2005 to date).

Other memberships include Sports Lawyers’ Association (U.S.), Australian
and New Zealand Sports Law Association, London Common Law and
Commercial Bar Association, Toronto Lawyers’ Association, Medico-Legal
Society of Toronto, Commercial Bar Association (U.K.), Federation of

‘Defense and Corporate Counsel (U.S.), Chartered Institute of Arbitrators,

ADR Institute of Ontario, American Arbitration Association (subscriber),
Centre for Effective Dispute Resolution (subscriber).

Gold Award of the Duke of Edinbugh’s Award Scheme 1977. Active in a
variety of student and social welfare organisations in the U.K. between 1977
and 1984. Board of Governors of Kingston Polytechnic in 1978-79 and again
in 1980-81; President of the Kingston Polytechnic Students’ Union in 1980.
Served the Toronto Nomads Rugby Football Club in various capacities since
1986 including President (2001). Member of the jegal network of Amnesty
International (Canada). Honorary legal adviser to the British Consul General
in Toronto and to the Canadian Rugby Union. Director, Artists’ Health Centre
Foundation (2003 to 2006). Member, Anti-Doping Advisory Committee,
International Rugby Board, Dublin (2000 to date).

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REPORTED CASES:

4

Royal Insurance v Canadian Indemnity Co. (1988) 32 C.C.L.I. 32
(Ontario High Court)
« Private International Law — Jurisdiction (Convenient Forum)

Shachar v Bailey (1989) 67 O.R. (2d) 726 (Ontario High Court)
¢ Joiner of Parties — Addition of Party After Expiry of Limitation
Period

Muller Martini v Kuehne & Nagel (1990) 71 O.R. (2d) 794 (Ontario
High Court)
»® Contracts — Bailment - Limitation of Liability

South River Power Corp. v Sandwell (1992) 1 Construction L.R.

(2d) 297 (Ontario Court)

¢ Contract ~ Professional Services (Engineering) — Limitation
of Liability

Tolofson v Jensen; Lucas v Gagnon (1992) 71 O.R. (2d) 794
(Ontario Court of Appeal) and [1994] 3 S.C.R. 1022 (Supreme

Court of Canada)

e¢ Private International Law — Choice of Law

771225 Ontario inc. vy Bramco Holdings Co, (1995) 21.0.R. (3d)
739 (Ontario Court of Appeal)
e Contract — Rectification - Mistake

Chubb Insurance Company of Canada v Liss (2000) 49 O.R. (3d)
439 (Ontario Superior Court)
« Insurance - Subrogation

Alie v Bertrand & Frere (2000) 30 C.C.L.I. (3d) 166 (Ont. $.C.J.)
and (2003) 62 O.R. (3d) 345 (C.A.)
e Insurance ~ Coverage Triggers

¢ Insurance — Allocation Among Excess Insurers Where
Successive Policies Triggered

Tai Fong Intemational v Lombard Canada (2001) 53 O.R. (3d) 595
(S.C.J.) and 35 C.C.L.1. (3d).354 (Ont. C.A.)
e Insurance — Contractual Limitation Periods

Fuller v McCartney (2003) 63 O.R. (3d) 393 (S.C.J.}
* Limitations - Discoverability principle

Somerset v Lloyd's Underwriters (reported as MeNaughton
Automotive Lid. v Co-operators General Ins. Co) (2003), 66 O.R.
(3d) 112 (S.C.J.)
¢ Private International Law — Jurisdiction — Class Proceedings
— Representative Plaintiffs not resident in the forum
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e Limitations: — applicability of limitation in automobile
insurance statutory conditions

« Insurance —deductibles — salvage

Three Seasons Homes Limited v Faris (Ontario Court of Appeal, 16
November 2005, not yet reported)
« Mortgages — survival of right of first refusal after expiry of
mortgage term

Lloyd's Underwriters v Teck Cominco (Supreme Court of British
Columbia, 21 August 2006, not yet reported) .
* Private International Law —- Jurisdiction - Parallel
Proceedings in U.S. District Court and Supreme Court of
British Columbia

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Exhibit B
PUBLISHED ARTICLES, PAPERS, TEXTS OF GRAEME MEW
The Law of Limitations (Butterworths, 2004), 2™ ed. (1% edition in 1 991)
“When Does Time Start to Run?” (2004) 28 Adv. Q. 448.

“The Insurance Defence Lawyer’s Conundrum: Conflicts of Interest and Ethical
Dilemmas Between Insurer and Insured” (2003) 26 Adv..Q. 429.

“Discoverability Principle Not a Licence to Ignore Time Limits” (Oct. 1998) 18 Lawyers
Wkly. No, 23, 8(2),

“Oral Discovery Could Become Obsolete with Mandatory ADR [alternative dispute
resolution)” (June 1998) 18 Lawyers Wkly. No. 5, 9(2).

Case Comment: “Seals and Limitations” (1999) 21 Adv. Q. 523.

“Lawyers: The Agony and the Eestasy of Self-Government” (1989) 9 Windsor Yearbook
of Access to Justice 210.

“Settlement Negotiations and Limitation Periods” (June 1992) 1 Uberrima Fides 56.
“Impact of part V, Family Law Act, 1986” (Ont.} (Part 1), (1987) 5 Can. J. Ins. L. 42.
“Impact of part V, Family Law Act, 1986” (Ont.) (Part 2), (1987) 5 Can. J. Ins. L. 66.

Case Comment: “Damages - Personal Injuries - Non-Pecuniary Damages - Unaware
Plaintiff and the Functional Approach” (1986) 64 Can Bar Rev. 562.
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Exhibit C

Instances of Canadian Court Citations of:
Graeme Mew, The Law of Limitations, (Butterworths, 2004), 2" ed. (1 edition in 1991)

872899 Ontario Inc. v. lacovont
33 O.R, (3d) 561
ONCtGD - 1997 May 7

Alvis y, Alvis
[2005] MJ. No. 425
MBQB - 2005 Nov 17

Air Line Pilots Assn. v. Canadian Airlines International Lid
[2000] B.C.J. No. 1698
BCSC - 2000 Apr 12

Beloit Canada Ltd. v. Valmet-Dominion Inc. (C_A.)
[1997] 3 F.C. 497, 73 C.P.R, (3d) 321
CAFCA - 1997 Apr 23

Binder vy. Royal Bank of Canada
[2005] N.S.J. No. 239
NSCA -.2005 Jun 16

Boyle, Re
29 O.S.C.B. 3365
Ontario Securities Commission - 2006 Apr 12

Business Development Bank of Canada v, Papke
[2003] B.C.J. No. 2689
BCSC - 2003 Nov 24

Butler v. Southam Inc.
{2001} N.S.J. No. 332
NSCA - 2001 Sep 7

Calandra v. Singh
[2006] WL 1230732
ONSupCtJus.- 2006 Feb 22

Canada v. Chmilar
[1994] F.C.J. No, 878
CAFCTD(lrelnst) - 1994 Jun 6

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Dutchak v. Paterson
[2005] A.J. No, 1896
ABProvCt - 2005 Dec 22

Frumusa v, Ungaro
[2005] O.J. No, 2412
ONSupCtJus - 2005 May 20

Garth v, Halifax (Regional Municipality)
[2006] N.S.J. No. 300

NSCA - 2006 Jul 20

Gillis v. Gillis

[1995] N.S.J. No. 476

NSSC - 1995 Nov 7

Halloran-y. Ontario (Employment Standards Act Referee)
217 D.L.R. (4th) 327
ONCA - 2002 Aug 27

Hamel v. Canada (C.A.)
[1999] 3 F.C. 335 , 175 D.L.R. (4th) 323
CAFCA - 1999 Feb 26

Heuman (Next Friend of)-v. Andrews
[2005] A.J. No. 1509
ABQB -.2005 Nov 4

Josvanger v. Folk
[2005] S.J. No, 724
SKCA - 2005 Noy 29

Karais v. Guelph (City)
11 OR, (3d) 89
ONCtGD - 1992 Sep 30

Kenmount Management Inc. y. Saint John Port Authority
210 D.L.R. (4"") 676, [2002] N.B.J. No. 32
NBCA - 2002 Jan 31

Kingstreet Investments Ltd. v. New Brunswick (Department of
254 D.L.R, (4th) 715, [2005] N.B.J. No. 205
NBCA - 2005 May 26

Lacroix (Litigation guardian of) v. Dominique
[1999] MLJ. No. 397
MBQB - 1999 Sep 21]

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Macdonald v. Macdonald
[1996] B.C.J. No. 642
BCSC - 1996 Mar 21

MacKay y. Russell
[2006] N.B.J. No. 437
NBQB - 2006 Oct 19

Markevich v. Canada (C.A.)
[2001] 3 F.C. 449
CAFCA - 2001 May 7

Mendonca v. Dominion of Canada General Insurance Co.
[2006] O.J. No. 1029
ONSupCtJusSmCICt - 2006 Mar 21

Menzies v. Bank of Nova Scotia
{1996] MLJ. No. 201
MBQB - 1996 Feb 27

MM. v. Roman Catholic Church of Canada
{2001] M,J. No. 401
MBCA - 2001 Sep 26

Moar v. Roman Catholie Church af Canada
205 D.L.R. (4th) 253
MBCA - 2001 Sep 26

Nahum v. Toronto Dominion Bank
[1996] 0.3. No. 2855, [1998] O.J. No, 4701
ONCiGD - 1996 Aug 20; 1998 Noy 18

Normandeau c. Lévesque (Succession de)
[2006] A.C.F, no 1016
CAFC - 2006 Jun 22

Payne v. Brady Estate
[1996] N.J. No. 245
NLCA - 1996 Sep 11

Perry, Farley & Onyschuk vy. Outerbridge Management Ltd.
199 D.L.R. (4th) 279
ONCA - 2001 May 7

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Quigley v. St. John's (City)
201 D.L.R. (4th) 306
NLCA - 2001 Jun 13

Rivergate Properties Inc, vy. West St. Paul (Rural Municipality)
[2006] M.J. No. 281
MBCA - 2006 Jul 20

Ryan v. Moore
[2005] 2 R.C.S. 53,
254 D.L.R. (4th) 1
SCC - 2005 Jun 16

Schapelhouman v. Ontario Cream Producers Marketing Board
[1995] O.J. No. 3132
ONCIGD - 1995 Oct 16

Steffensen v. Canadian Tire Corp.
[1996] M.J..No, 197
MBQB ~ 1996 Apr 17 —

Swiderski v. Broy Engineering Ltd.
11 O.R. (3d) 594
ONDivCt - 1992 Nov 16

Thompson v. Manitoba
[1997] M.J. No, 639
MBQB - 1997 Nov 4

Vine Hotels Inc. v. Frumcor Investments Lid.
73 O.R, Gd) 374
ONSupCtlusDivCt - 2004 Nov 24

Wong v. Sherman
[1998] O.J. No. 1534
ONCiGD - 1998 Apr §

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Exhibit D

CANADIAN REGULATIONS
RE: ASBESTOS-CONTAINING MATERIALS IN BUILDINGS

[PROVINCE |DATE | REGULATION

Alberta | 1. Alberta Building Code

The Alberta Building Code is the provincial legislation that
has specific prohibitions on the types of asbestos products
that can be used in-buildings, The Code also has provisions
regarding when asbestos containing building products had
to be removed or otherwise managed in buildings being
demolished or renovated. These provisions have been
transferred to the Occupational Health and Safety Code.

1977 March 1977; Alberta Heating, Ventilating and Air
Conditioning Regulations
Supply and return air may not pass over surfaces containing
-asbestos except forthe surfaces of fire stops. This provision
was incorporated into the 1978 Alberta Heating, Ventilation
‘and Air Conditioning Code.

1981 May 1981: Alberta Building Code

No product that has a potential for releasing asbestos fibres
in a building may be installed apart from asbestos cement
board and asbestos cement pipe (as long as the latter two
were not used in a supply or return air system)

1985 June 1985: Alberta Building Code

Asbestos may not be used in air distribution systems or
equipment in a form or location where asbestos fibres could
enter the air supply or retum systems

1987 February 1987: Standata 85-DR-009

Alberta became a signatory to an International Labour

| Organization convention banning the spray application of
asbestos products and products containing crocidolite.

1991 September 199}: Alberta Building Code

e Any condition where there is a potential for asbestos
fibres to be released in a building may be declared is
by the Director to be an unsafe condition. E

e The use of materials containing crocidolite is
prohibited.

Spray application of asbestos products is prohibited.
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1966

197]

1976

| 1982

1982

e In buildings being altered or renovated, any
materials having the potential for releasing asbestos
fibres in the area of alteration or renovation must be
encapsulated, enclosed or removed.

¢ In buildings to be demolished, materials having the
potential for releasing asbestos fibres must first be
removed,

2. Public Health Act, R.S.A, 1955, ¢. 255.

Reg. 186/66 - Regulations Respecting the Protection of
Persons with Fibrosis of the Lungs (Amended AR 572/57
by inserting Division 25)

The Regulation includes health assessment requirements for
anyone who may be exposed to.a substance that causes
fibrosis.

Reg. 375/71 — Fibrosis of the Lungs -

The Regulation includes health assessment requirements for
anyone who may be exposed to a substance that causes
fibrosis.

| Amended by Reg 9/82 (where some requirements related to

silica were added)
Repealed by Reg. 243/83

3. Occupational Health and Safety Act, R.S.A. 1976, c.40
Reg. 267/76 — Genera] Accident Prevention Regulation

Requirements for ventilation systems to ensure that
exposure to asbestos is kept below the ACGIH TLVs.

| 4. Occupational Health and Safety Act, R.S.A. 1980, ¢.0-2

Reg. 7/82 — Asbestos Regulation

This Regulation came into force on March 1, 1982. It

| covered definitions; employer’s responsibilities; labelling;
| handling; waste treatment; prohibition of drinking, eating or

smoking in a restricted area; and medical assessment of
exposed workers, It contained health assessment
requirements that had been in the fibrosis regulations.

Reg. 8/82 - Chemical Hazards Regulation
Contained occupational exposure levels for asbestos fibres

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1988

1992

| 1997

1973

1984

2 fice for chrysotile, 0.2 fcc for other forms of asbestos). ~~

Reg. 393/88 — Chemical Hazards Regulation

This Regulation replaced the Asbestos Regulation 8/82,

This Regulation came into effect on 15 March 1989,
incorporating amendments up to and including Alberta
Regulation 15/8 covering the Occupational Health and
Safety provisions relevant to work involving harmful
controlled substances, Permissible occupational exposure
limits for chrysotile fibres are regulated in this Regulation.

Amended by AR 17/89 to add Schedule 2 (asbestos

included in Schedule)

Reg, 303/92 — Chemical Hazards Regulation
Asbestos was added to Part 3-of the Regulation and the
Asbestos Regulation was repealed.

| Reg. 169/97-—-Chemical Hazards Regulation

Amendments were made to section 41,-Section 42 (worker
registry) was repealed.

5. Occupational Health and Safety Act, R.S.A. 2000, c.0-

2.
) Continued the regulations that were in place under the prior
| Act.

6. Workers Compensation Act, S.A. 1973, c. 87.

Reg. 362/73, section 14, recognizes Asbestosis as an

industrial disease

Reg. 326/84 - Ventilation Systems

Coming into force on 1 Jan. 1985, this Regulation applied to
all work sites where airbome contaminants or oxygen
deficiency might reasonably affect workers’ health. The
adequacy, design, development or modification ofa
ventilation system shall be determined on the basis of a
thorough assessment of the hazards present. The
maintenance of the ventilation system is the responsibility
of the employer, who shall also ensure that workers are
trained in its use.

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British
Columbia

11968,

1979

1972

1. Workmen’s Compensation Act, §.B.C. 1968, ¢.59 and
Workers Compensation Act, R.S.B.C. 1979, c.437

These Acts contemplated that building owners must know
what is in their buildings, including asbestos-containing

| products, in order to comply with numerous provisions of
the Acts and regulations.

The 1968 Act defines an employer as including: “every
person haying in his service under a contract of hiring.or
apprenticeship, written or oral, express or implied, any
person engaged in any work or about an industry;...” (1968
Act, s.2) The 1979 Act contains a virtually identical
definition: “every person having in his service under a
contract of hiring or apprenticeship, written or oral, express
or implied, a person engaged in work in or about an
industry;...° (1979 Act, s.1)

| Section 4(1)(b) of the 1968 Act states that:

(1) This Part [Part 1 “Compensation to Workmen and Dependants"]
applies to employers and workmen (b) in or about the operation of
industrial undertakings listed in Schedule A;...

“Commercial buildings or properties where space is rented

| to a tenant” and “schools, colleges, or universities and

hospitals” are among the industrial undertakings listed in
Scheduie A of the 1968 Act. The 1979 Act has the same
language on this issue (1979 Act, s.2(1)(b) and Schedule A)

Under section 61-of the 1968 Act, the Worker’s
Compensation Board was permitted to assess a levy against
employers for:
(i) failing to take sufficient precautions to._prevent
injuries and industria] diseases;
(ii) failing to comply with regulations, orders and
directions of the WCB; and
(iif) allowing unsafe working conditions.

Reg. 64/72 - (the “1972 Regulations”) placed specific

| obligations on employers to comply with the 1968 Act and
| address potentially hazardous conditions. For example, the

1972 Regulations state the following:

8.04. All buildings, excavations, structures, machinery, equipment,
tools, and places of employment shall be maintained in such condition
that workmen will not be endangered.

8.05: Regular inspections of all buildings, excavations, structures,

OSI!
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1978

machinery, equipment and places of employment shall be; made, by the
employer or his representative, at intervals that will ensure that safe
working conditions are maintained. Unsaf3e conditions foOund in these
inspections shall be remedied without delay.

| 12.14 Where workmen are exposed to, or handle:toxic or corrosive

substances, or substances containing harmful ingredients, the employer
shal] ensure that the harmful nature of the substances is known, that-safe
means of handling and using the substances are followed, and that the
‘workmen are trained in the safe handling the substances and are wearing
any necessary protective clothing as required by regulations 14.02.

(Section 12 of the 1972 Regulations is headed “Health
Hazards and Harmful Substances.” Asbestos is dealt within
the section under the subheading “Asbestos Hazards”,

The 1972 Regulations gave notice to all employers and
workers in British Columbia that specific precautions had to
be observed when dealing with asbestos and asbestos
containing materials.

Section 4 of the 1972 Regulations dealt with compliance
with the Regulations. Every provision contained within
Section 4 was mandatory in nature.

| Specific precautions to be followed when dealing with

asbestos-containing products were dealt with in sections
12.30 through 12.42 of the 1972 Regulations.

Section 12.30 entitled “Control of hazards”, stated that

| when work or manufacturing process cause or are likely to
;) cause workmen tot be exposed to asbestos or dusts

containing asbestos, means shall be provided to control
asbestos dusts at or below the threshold limit value listed in
appendix “A:.

| Reg, 585/77 (effective January 1, 1978) (the “1978

Regulations”), also placed significant responsibilities on
employees, including building owners, to know what
potentially hazardous materials there were in the workplace,
including asbestos-containing materials, and to reduce any
risk of injury to employees and other workmen from those
materials. Moreover, as was the case with the 1972
Regulations, the 1978 Regulations made plain in section
2,04 that:

“Notwithstanding the absence of a specific regulation, all employment

and work shall be carried out without undue risk of injury or industrial
disease to any person subject to these regulations.”

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As was the case under the 1972 Regulations, any
contravention of a regulation was, under section 2.16 of the
1978 Regulations, deemed to be “a contravention by the
employer”. Accordingly, all employers, including building
owners, had to know what potential hazards were in the
workplace to make sure that a! proper precautions were
taken.

; Several provisions of Section 8, “Places of Employment —
General Requirements”, required employers, including
building owners, to maintain safe work conditions and to
instruct workers in the safe performance of their duties.
Building owners would have to become familiar with all
potentially hazardous materials in order to discharge these
responsibilities,

Section 12 of the 1978 Regulations deals specifically with
“Harmful Substances”. Section 12.01 “General
Requirements’, emphasizes the duty of the employer to
know about the presence and characteristics of “any

| substance likely to cause adverse health affects”.

Section 13(1) of the 1978 Regulations states that “A

| worker’s exposure to airborne contaminants shall be limited
to the stated permissible concentrations as specified in
Appendix “A”, Appendix “B” and the preambles thereto”
Appendix “A”, Table 1 gave “permissible concentrations for
Airborne Contaminant Substances”, including asbestos,
This required an employer, including a building owner, to
know the composition of any asbestos-containing material
to. determine whether it contained crocidolite Moreover,
Appendix “B” listed asbestos as.a carcinogen.

Section [3.03 stated: Where it is necessary for an employer to
reduce or contain the level of contamination at any place of
employment, preference must be given to methods that do not involve
pollution of the environment.

In doing maintenance work, renovations or demolition,
building owners would have to be aware of what building
materials could potentially pollute or contaminate the
environment.

Section 35 of the 1978 Regulations set out a regime for the
safe handling of asbestos materials.

The building owner and other employers had to be familiar

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1980's
and
1990’s

1978-
1993

with the composition of asbestos-containing materials, since
different permissible exposures were mandated for
crocidolite and Section 35.25 stated that “crocidolite
asbestos shall not be used in any place of employment.”

During the 1980’s and 1990’s the Worker’s Compensation
Board published and disseminated a brochure entitled “Safe .
Handling of Asbestos [:].A Manual of Standard Practices.”
On page 8 of the fifth printing of the brochure, (September,
1990), the following statement appeared under the title

| “Employer Responsibilities”: “Work that involves the

handling of materials containing asbestos can vary from a
major friable asbestos removal project to removing or
replacing a gasket. To prevent the inhaling of asbestos fibres
by the workers doing the work or those who may be
affected by such work, the employer of those workers has
responsibilities which include...”

} Numerous examples of the employer’s responsibilities -were
} given, such as

(a) instructing and training the workers in the work
procedures;

(b) ensuring experience and qualified supervision of the
work;

{c) ensuring workers have and are provided with, wear,
and are trained in the use of necessary personal
protective clothing and equipment; and

(4) informing workers of health hazards associated with
exposure to asbestos fibres

Another duty of a building owner/employer cited in the
manual requires the owner/employer to ascertain the
manufacturer of the asbestos-containing material in
question; the owner/employer has the responsibility of:
“...making available manufacturer’s detailed work
procedures or, where such procedures do not.exist,
preparing written work procedures.”

During 1978 to 1993, various. amendments were made to the
1978 Regulations, For example, exposure limits
(permissible concentrations) for asbestos changed as a result
of BC Regulations 374/79 and 267/93, Regulation 374/79
gave individual exposure limits for amosite, chrysotile,
crocidolite, and tremolite. Building owners had to know the

‘composition of the asbestos-containing materials in order to

ensure compliance.

Uy.
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Man itoba

1977

1988

|i. Workplace Safety and Health Act, SM. 1976, «. 63

(R-S.M. W210)

Reg. 209/77 - Respecting Workers Employed in Certain
Industries in Which Fibrosis (including silicosis) May be
Contracted

(Reg. 109/77 was repealed and replaced by Reg. 100/88,
“Fibrosis and Silicosis Regulation”, which is identical in
relevant part.)

$S. 1(1)(b): “prescribed occupation” means an occupation

(i) that is in an industry mentioned in Schedule A to this Regulation; and

(ii) in which a worker is, or may ‘be, exposed to the inhalation of any

| substance that may produce fibrosis of the lungs;

| but which does not include an occupation in which the worker jis

exposed to the inhalation of such substance for a period of less than
‘fifty hours in each month ...

Schedule 4

(6) Any industry in which asbestos, or any mixture of asbestos, is
worked or handled, or any asbestos textiles, or any article composed of

| or containing asbestos, is manufactured or repaired.

- | Reg. 53/88 - Workplace Health Hazard Regulation

Regulates as “controlled products” those products specified
by the regulations made pursuant to paragraph 15(1)(a) of
the federal Hazardous Products Act to be included in any of
the classes listed in Schedule Ii federal Act.

Asbestos is specifically listed as a “designated material” in

Schedule B, Section 1. Designated materials are a sub-set
of “controlled products” that are deemed to be health
hazards;

S. 18(1) Subject to subsections (3) to (5}, an employer shall in

| consultation with the workplace safety and health committee or worker

safety and health representative ensure that the hazard information for
each controlled product in a workplace is evaluated to determine if the
controlled product poses or may pose a health hazard to any worker in
the workplace, and, if so, comply with the requirements of this part.

(2) Where a controlled product is or contains a designated material, the
evaluation required under subsection (1) shall be deemed to have been
done and to have disclosed that the designated material is a health

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1954

1974

hazard.

See also s, 19(2), which sets a Jower level of exposure to
designated materials than to other controlled products.

Section 29 requires employers to restrict access to areas in
which designated materials are located.

2, Worker's Compensation Act, R.S.M. 1954, c. 297.

Schedule 1, para. 26 refers to “asbestos goods” as an
industry within the scope of the Acts provisions relating to
contribution to the accident fund, Para. 35 refers to “the
work of artisans and mechanics employed for their whole
time at their trade in an industry not classified herein”. The
full paragraphs are quoted below. As you can see, the

| paragraph containing the reference to asbestos goods relates

primarily to manufacturers of fibrous or fabric goods, while
the paragraph containing the “artisans and mechanics”
language is 2 composite, and may have been intended as a
residual clause. A 1974 regulation clarifies that “artisans
and mechanics” includes asbestos workers.

Schedule |

26. Flax mills, manufacture of ‘textiles or fabrics, spinning,
weaving, and knitting manufactories, manufacture of ‘yam, |
thread, hosiery, cloth, blankets, carpets, canvas, bags, shoddy,
felt, cordage, plastic material, ropes, fibre, brooms, or brushes;
asbestes goods, hair cloth and other hair goods; work in
manilla or hemp; tents, awnings and articles not otherwise
specified made from fabrics or cordage; the erection of
awnings by the manufacturer.

35. Plumbing, sanitary or heating engineering, gas and steam
fitting; the work of artisans and mechanics employed for
their whole time at their trade in an industry not classified
herein; operation of theatres; operation of passenger or freight
elevators which are not operated in connection with an industry
included in another class, including the operation of elevators
used in connection with an industry to which this Schedule
does not apply or in connection witha warehouse or shop or an
office or other building or premises. (Para. 35 became para. 39
in the later revision.)

Reg. 82/74 - A Regulation Under the Workmen’s
Compensation Act Relating to Miscellaneous Matters

t, The words “artisans and mechanics” as set out in paragraph 39
of Schedule 1 to The Workmen's Compensation Act

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1987

(hereinafter called “the Act”) include on workers and their
helpers of the following trades:

(]} Airframe and Aeroengine Mechanics
(2) Asbestos Workers

(3) Auto Mechanics

(4) Bakers

(5) Boiler Makers

(6) Bookbinders

| 3. Workers Compensation Act, R.S.M. 1987, c. W200.

The “artisans and mechanics” language continued to be

used. See, e.g., s. 2.1(1):

2.1(1) The Lieutenant governor in Council may, by regulation, exclude
an industry, an employer or workers from.being within the scope of this
Part and, in doing so, may

(b) permit the inclusion of artisans and mechanics employed full-time
at their trade ‘in the excluded industry

Newfoundland
and Labrador

1981

1979

1. The Regulation of Mines Act, R:S.N. 1970, ¢.330.

Reg. 83/81, “The Asbestos Exposure Code”, adopted
pursuant to the Mines (Safety of Workmen) Regulations, |
1957. Repealed and replaced by 1144/96,

| 2. Occupational Heatth and Safety Act, 8.N. 1978, ¢.23.

Reg, 104/79 - Occupational Health and Safety Regulations,
1979

Includes pneumoconiosis due to asbestos, and also
mesothelioma of the pleura or peritoneum as notifiable
occupational diseases.

| 24(1) The occupational diseases for which notification is required under

Section 58 of The Occupational Health and Safety Act are:

(d} Preumoconiosis due to silica or silicate, including asbestos, talc,

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1988

1991

1970

mica or coal.

(j) Mesothelioma of the pleura or peritoneum

Reg. 169/88 - Workplace Hazardous Materials Information
System Regulations (WHMIS)

Defines controlled products as those products specified by
the regulations made pursuant to paragraph 15(1)(a) of the
federal Hazardous Products Act to be included in any of the
classes listed in Schedule II federal Act. Newfoundland
therefore included asbestos as a controlled product from
1988, if the Hazardous Products Act listed asbestos as of
that date.

Repealed and replaced by Reg. 148/89 (identical in relevant

| part).

Reg. 194/91 - Asbestos Abatement Code of Practice

| (2) Application
| This Code of Practice applies to:
| 1.(a} Applies to every workplace covered -by the Occupational Health

| and Safety legislation where asbestos or material containing asbestos is
| likely to be handled, dealt with, disturbed or removed and including

every project, project owner, contractor, employer and employee
engaged in or on the project;

(b} the repair, alteration or maintenance of a building containing
asbestos and to the owner thereof, and to every employer and employee
engaged in such repair, alteration or maintenance;

(c} every building in which material that contains asbestos has been
used and to the owner thereof:

(f) other operations involving a risk of exposure to airborne asbestos

| fibers.

Repealed and replaced by Reg. 1147/96,

4. Workmen's Compensation Act, R.S.N.L. 1970, c. 403.
Title changed to the Workers’ Compensation in 1983 (in
force January 1, 1984). . The 1983 Act redesigns the
structure of the legislation, so that Industrial! Diseases are
prescribed by Regulation rather than set out in a Schedule to

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1967

1983

the Act. See description of Reg. 330/83, below.

| Reg. 29/67 - Workmen’s Compensation Regulations

Repeals and replaces the “Workmen’s Compensation
Regulations, 1957”.

Includes asbestos mining in Class 1 workers covered by the
Act and Regulations.

Repealed and replaced by Reg. made April 30, 1974

| (doesn’t provide the regulation number}

Reg. 330/83.- Workers’ Compensation Regulations, 1984

| S. 28, para. 1 includes asbestosis as an industrial disease.

(in force January 1, 1984.):

Industrial Disease

1. pneumoconiosis caused by sclerogenic mineral dust (silicosis,
anthraco-silicosis, asbestosis) and silicio-tuberculosis, provided that
siliciosis is an essential factor in causing the resultant incapacity or

death.

Description of Process

| All work involving exposure to the risk concerned,

Nova Scotia

1987

1986

1988

| 1. Building Code Act, S.N.S. 1977, ¢. 5

Reg. 45/87: Adopts The National Building Code, National -
Research Council publication number NRC No. 23174.

| 2. Dangerous Goods and Hazardous Wastes Management

Act, S.N.S. 1986, ¢. 7
Reg, 238/88 - Asbestos Waste Regulations

Sample sections:

2(c) “asbestos waste” means a waste containing friable asbestos fibers
or asbestos dust in a concentration greater than 1% by weight

3. For the purposes of the Act and these regulations, asbestos waste is
designated as a dangerous good. .

4, Every person involved in the transportation, handling, storage or
disposal of ‘asbestos waste shall ensure that asbestos fibers do not

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1995

become airbome,

5. No person shall remove asbestos from the interior or exterior of any
butiding or other structure or part thereof unless the removal is carried
out in accordance with the requirements of the Codes of Practice
respecting Managing Asbestos in Buildings and Removal of Friable
Asbestos Containing Materials made pursuant to the Occupational

Health and Safety Act.

Repealed and replaced by Reg. 197/90 (under the
Dangerous Goods and Hazardous Wastes Act, which was

| repealed and replaced by Reg. 56/95, made under the

Environment Act).

3. Environmental Protection Act, S.N.S. 1973, ¢. 6.

Repealed and replaced by the Environment Act, $.N.S.

1994-95, c. L.

Reg, 56/95 - Dangerous Goods Management Regulations

| Repeals and replaces Reg. 197/90 (under the Dangerous

Goods and Hazardous Wastes Act), This regulation defines
“dangerous goods” to mean goods as defined in the federal
Transportation of Dangerous Goods Act regulations:

| 1.In these regulations

(d) “dangerous goods” means a substance that

(i) conforms to the criteria set out in subsections 3.8 to 3.27, inclusive,
of the Transportation of Dangerous Goods Reptilations (Canada),

} (ii) is included in List ] of Schedule II or List JI of Schedule IE of the
Transportation of Dangerous Goods Regulations (Canada), or

(iii) is designated in Schedule “B” of these regulations

Note: if asbestos is listed in List I of Schedule II or List II of
Schedule I of the federal Act, then it’s included here by

| reference.

| 4. Occupational Health and Safety Act, SN. 1985, c. 3.
| The Occupational Health and Safety Act repealed and

replaced the Industrial Safety Act, R.S.N.S. 1967, ¢. 141,
which repealed and replaced the Factories Act, R.S.NS.
1954, c. 92.

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1969

1988

1996

General regulations under the 1967 Industrial Safety Act
were made on February 11, 1969.

Reg. 196/88 - The ‘Workplace Hazardous Materials
Information System (WHMIS) Regulations

Defines controlled products as those products specified by
the regulations made pursuant to paragraph 15(1)(a) of the
federal Hazardous Products Act to be included in any of the
classes listed in Schedule Hf federal Act. Nova Scotia
therefore included asbestos as a controlled product from
1988, if the Hazardous Products Act listed asbestos as of

| that date.

“Code of Practice Respecting Managing Asbestos in
Buildings” made pursuant to the Occupational Health and
Safety Act. (See reference in Reg. 238/88 under the
Dangerous Goods and Hazardous-wastes Management Act,
above.)

Code of Practice Respecting Removal of Friable Asbestos
Containing Materials’ made pursuant to the Occupational
Health and Safety Act. (See reference in Reg. 238/88 under
the Dangerous Goods and Hazardous-wastes Management
Act, above.)

5. Workers’ Compensation Act, R.S.N.S, 1967

| Reg. 22/96 - Appendix A includes “rock wool

manufacturing” workers in the list of employees covered by

| the Act, and also lists “insulation manufacturing”,
| “building” and “building construction”, but does not name
| asbestos or asbestos workers specifically. “Rockwool” is

defined in the Oxford Canadian Dictionary (1998) as “a
wool-like substance made from inorganic material, used
esp. for insulation etc.”. Rockwool may be a synonym for
asbestos.

Ontario

} 1983

1, Environmental Protection Act, R.8.0. 1980, c. 141
(from $.0. 197], c. 86).

| Reg. 175/83 — General: Waste Management

Adds provisions respecting asbestos waste. Amends R.R.O.
1980, Reg. 309. See, ¢.g., Reg. 175/83, s. 3, adding new s.
14 to the General Regulation:

14.The management of asbestos waste shall be carried out in accordance

14

95
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1985

1988

1998

1972

with the following provisions:

1.No person shall cause or permit asbestos waste to leave the location at
which it is generated except for the purpose of transporting it to a waste
disposal site, the operator of which has agreed to > ance it and has been
‘advised as to its anticipated time of arrival and, .

“asbestos waste” means solid or liquid waste that contains asbestos in
more than a trivial amount or proportion and that does not contain a
significant amount.or proportion of other components that would bring
the waste within the meaning of hazardous waste;

Reg. 322/85, amending R.R.O. 1980, Reg. 309. Amends
the definition of “asbestos waste”.

“asbestos waste” means solid or liquid waste that results from the
removai of asbestos-containing construction or instillation or materials or
the manufacture of asbestos-containing products and contains asbestos
in more than a trivial amount or proportion.

Reg. 597/88, s. 2, amending R.R.O, 1980, Reg. 309.
Amends subsection 14(1) as follows: -

Subsection 14(1).of the said Regulation, exclusive of the paragraphs, as
made by section 3 of Ontario Regulation 175/83 and amended by
section 1 of Ontario Regulation 574/84 and section 4 of Ontario
Regulation 464/85, is revoked and the following substituted therefore:

(1) No person shal! manage asbestos waste except in accordance with
the following:

Reg. 524/98 - Certificate of Approval Exemptions: Air

| Exempts from Section 9 of the Act mobile equipment used

for asbestos removal.

Amended to O. Reg. 273/03.

|2. Industrial Safety Act, 1971, $.0. 1971, ¢. 43. The

Industrial Safety Act became the Occupational Health and

| Safety Act, 8.0, 1978, ¢. 83 (in force October 1, 1979).

| Reg. 259/72 - Regulation Made Under the Industrial Safety

Act, 197]
Required examinations of workers exposed to asbestos.

3(1) Where a person is exposed te a concentration of lead, mercury,

beryltium, asbestos, isocyanates, silica, enzymes, fluorides, benzol or -
other substances of similar toxicity that is likely to endanger his health, |

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1 TARGET.
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1982

1985

The shall be examined by a qualified medical practitioner at such

intervals as specified in writing by the chief inspector ....

Reg. 570/82 - Designated Substance: Asbestos

3(1) Subject to subsection (3) this Regulation applies to. every employer
and worker at a work place where asbestos ‘is present, processed, mined,
used, handled or stored and at which the worker is likely to inhale or
ingest asbestos.

(2) Subject to subsection (3) , an employer to whom this Regulation

‘applies shall take every precaution reasonable in the circumstances to

ensure that every worker who is not an employee of the employer but
who is working in the work place of the employer and is exposed to
asbestos and whose health is likely to be affected thereby is protected
and the worker shall comply with the requirements of the employer.

{3) Subsection (2) and sections 4 to 17 do not apply to a constructor , to

an employer who is carrying out a project, or to a worker working.on or
af a project.

Amended by O. Reg. 23/87, s. 5

Reg. 655/85, repealing and replacing Reg. 570/82, s. 3

(filed December 16, 1985; in force 90 days after filing)

1.Section 3 of Ontario Regulation 570/82 is revoked and the following
substituted therefore:

3(1} This regulation applies,

(a) to every employer operating a mine or mining plant for the purpose

of mining, crushing, grinding or sifting asbestos and to those workers of

such an employer who are likely to inhale or ingest asbestos:

{b) to every employer processing, adapting or using asbestos in
connection with the manufacturing or assembling of goods or products
and to those workers of such an employer who are likely to inhale or

ingest asbestos; and

(s) to every employer,

(i) engaged in the repair, alteration or maintenance of machinery,
equipment, aircraft, ships, locomotives, railway cars and vehicles and to
those workers of such an employer who are likely to inhale or ingest
asbestos, or

(ii) engaged in work on a building that is necessarily incidental to the
repair, alteration or maintenance of machinery or equipment and to
those workers of such an employer who are likely to inhale or ingest
asbestos, if the employer has on or before the day Ontario Regulation
654/85 is filed with the Registrar of Regulations, put into effect and
maintained measures and procedures to control‘the exposure of workers

| to asbestos and has incorporated the measures and procedures in an

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1985

1970

1992

asbestos control program in accordance with this Regulation.

(2) An employer to whom this Regulation applies shall take every
precaution reasonable in the circumstances to ensure that every worker

| who is not an employee of the employer and who works in the

‘workptace .of the employer ‘is protected and every such worker shall
comply with the requirements of the employer.

Reg. 654/85 - Designated Substance: Asbestos on
Construction Projects and in Buildings and Repair
Operations

The entire regulation deals with the use of asbestos on
construction projects. As noted in my May 29, 2006 chart,
Section 3(1} (Reg. 654/85) provides:

| .3(1) ‘No person shall apply or install by spraying or cause to be applied

or installed by spraying material containing more than | per cent
asbestos by dry weight that can become friable.

| Amended by Reg. 529/88. Becomes R.R.O. 1990, Reg.

838. Amended by Reg. 278/05.

| 3. Workmen's Compensation Act, R.S.O. 1970, c. 505

R.R.O, 1970, Reg. 834 classifies industries covered by the
Act. Class 17(1)(i)(m) lists “manufacturing fibre or
asbestos goods”. Asbestosis or exposure to asbestos is not
included in Schedule 3 Jist of industrial diseases.

Reg. 276/92, adds Schedule 4 to the general regulations

under the Worker’s Compensation Act. In Schedule 4,
asbestosis is included as an occupational disease deemed
under subsection 15(4) of the WSI Act as resulting from the
prescribed process. (Section 15(4) creates a rebuttable
presumption of causation for Schedule 3 diseases and an

| unrebuttable presumption of causation for Schedule 4

diseases.) It also adds the generation of asbestos fibres as
the unrebuttable causative process for the development of
inesothelioma:

Schedule 4: Occupational Diseases (Deemed Under subsection 15(4)
of the Act)

Column 1: Description of disease

1, Asbestosis

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1997

1998

Column 2: Process

mining, milling, manufacturing, assembling, construction, repair,
‘alteration, maintenance or demolition process involving the generation
of asbestos fibres (Schedule.4, columns | (description of disease) and 2
(proeess))

Column 1; Description of disease

2. Primary malignant neoplasm of the mesothelium of the pleura of
peritoneum

Column 2: Process

Any mining, milling, manufacturing, assembling, construction, repair,
alteration, maintenance or demolition process involving the generation
of airborne asbestos fibres

4, Workplace Safety and Insurance Act, 1997, $.0. 1997,
¢. 16. The WSI Act repeals the Workers’ Compensation Act
and amends the Occupational Health and Safety Act (but
not in respect of asbestos).

Reg. 175/98, “General”, Repeals and replaces R.R.O, 1102
and Ont. Regs. 6/91, 758/91, 276/92, 746/92, 747/92,
899/93, 900/93 and 716/94. (In force January 1, 1998).

1 Schedule 4.of Reg. 276/92 under the Workmen's

Compensation Act was unaffected,

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